                                                                                                                           Case 10-49937                     Doc 1
                                                                                                                                                                 Filed 11/08/10 Entered 11/08/10 14:37:36 Desc Main
                                                                                                          B1 (Official Form 1) (4/10)                              Document       Page 1 of 62
                                                                                                                                                    United States Bankruptcy Court                       Voluntary Petition
                                                                                                                                                      Northern District of Illinois
                                                                                                           Name of Debtor (if individual, enter Last, First, Middle):                                     Name of Joint Debtor (Spouse) (Last, First, Middle):
                                                                                                            Zasadil, John Albert                                                                               Zasadil, Erin Kathleen
                                                                                                           All Other Names used by the Debtor in the last 8 years                                         All Other Names used by the Joint Debtor in the last 8 years
                                                                                                           (include married, maiden, and trade names):                                                    (include married, maiden, and trade names):
                                                                                                            None                                                                                               None
                                                                                                          Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
                                                                                                          (if more than one, state all): 5593                                               (if more than one, state all):    0883
                                                                                                           Street Address of Debtor (No. and Street, City, and State)                                     Street Address of Joint Debtor (No. and Street, City, and State
                                                                                                            17812 Greentree Road                                                                               17812 Greentree Road
                                                                                                            Wildwood, IL                                                         ZIPCODE                       Wildwood, IL                                                         ZIPCODE
                                                                                                                                                                                    60030                                                                                             60030
                                                                                                           County of Residence or of the Principal Place of Business:                                     County of Residence or of the Principal Place of Business:

                                                                                                            Lake                                                                                               Lake
                                                                                                           Mailing Address of Debtor (if different from street address):                                  Mailing Address of Joint Debtor (if different from street address):



                                                                                                                                                                                 ZIPCODE                                                                                            ZIPCODE

                                                                                                           Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                                                                                                                                    ZIPCODE

                                                                                                                         Type of Debtor                                         Nature of Business                                       Chapter of Bankruptcy Code Under Which
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                                                                                                                      (Form of Organization)                         (Check one box)                                                          the Petition is Filed (Check one box)
                                                                                                                         (Check one box)                                 Health Care Business                                       Chapter 7
                                                                                                                                                                         Single Asset Real Estate as defined in
                                                                                                                                                                                                                                                               Chapter 15 Petition for
                                                                                                              Individual (includes Joint Debtors)
                                                                                                                                                                         11 U.S.C. § 101 (51B)                                      Chapter 9                  Recognition of a Foreign
                                                                                                              See Exhibit D on page 2 of this form.
                                                                                                                                                                         Railroad                                                                              Main Proceeding
                                                                                                              Corporation (includes LLC and LLP)                                                                                    Chapter 11
                                                                                                              Partnership                                                Stockbroker                                                                           Chapter 15 Petition for
                                                                                                                                                                                                                                     Chapter 12
                                                                                                              Other (If debtor is not one of the above entities,         Commodity Broker                                                                      Recognition of a Foreign
                                                                                                                                                                                                                                    Chapter 13                 Nonmain Proceeding
                                                                                                              check this box and state type of entity below.)            Clearing Bank
                                                                                                                                                                         Other                                                                        Nature of Debts
                                                                                                                                                                                 N.A.                                                                 (Check one box)
                                                                                                                                                                                                                                    Debts are primarily consumer
                                                                                                                                                                                    Tax-Exempt Entity                               debts, defined in 11 U.S.C.                    Debts are primarily
                                                                                                                                                                                  (Check box, if applicable)                        §101(8) as "incurred by an                     business debts
                                                                                                                                                                            Debtor is a tax-exempt organization                     individual primarily for a
                                                                                                                                                                            under Title 26 of the United States                     personal, family, or household
                                                                                                                                                                            Code (the Internal Revenue Code)                        purpose."
                                                                                                                                      Filing Fee (Check one box)                                                   Check one box:       Chapter 11 Debtors
                                                                                                                  Full Filing Fee attached                                                                            Debtor is a small business as defined in 11 U.S.C. § 101(51D)
                                                                                                                                                                                                                      Debtor is not a small business as defined in 11 U.S.C. § 101(51D)
                                                                                                                  Filing Fee to be paid in installments (Applicable to individuals only) Must attach               Check if:
                                                                                                                  signed application for the court's consideration certifying that the debtor is unable                  Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                                                                  to pay fee except in installments. Rule 1006(b). See Official Form No. 3A.                             insiders or affiliates) are less than $2,343,300 (amount subject to adjustment on
                                                                                                                                                                                                                         4/01/13 and every three years thereafter).
                                                                                                                                                                                                                   Check all applicable boxes
                                                                                                                  Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
                                                                                                                                                                                                                         A plan is being filed with this petition.
                                                                                                                  attach signed application for the court’s consideration. See Official Form 3B.
                                                                                                                                                                                                                         Acceptances of the plan were solicited prepetition from one or
                                                                                                                                                                                                                         more classes, in accordance with 11 U.S.C. § 1126(b).
                                                                                                            Statistical/Administrative Information                                                                                                                                  THIS SPACE IS FOR
                                                                                                                                                                                                                                                                                    COURT USE ONLY
                                                                                                              Debtor estimates that funds will be available for distribution to unsecured creditors.
                                                                                                              Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
                                                                                                              distribution to unsecured creditors.
                                                                                                          Estimated Number of Creditors

                                                                                                           1-49           50-99          100-199           200-999          1000-            5,001-            10,001-          25,001-          50,001-          Over
                                                                                                                                                                            5000             10,000            25,000           50,000           100,000          100,000
                                                                                                          Estimated Assets

                                                                                                          $0 to          $50,001 to     $100,001 to       $500,001       $1,000,001       $10,000,001     $50,000,001         $100,000,001     $500,000,001      More than
                                                                                                          $50,000        $100,000       $500,000          to $1          to $10           to $50          to $100             to $500          to $1 billion     $1 billion
                                                                                                                                                          million        million          million         million             million
                                                                                                          Estimated Liabilities

                                                                                                          $0 to          $50,001 to     $100,001 to       $500,001       $1,000,001       $10,000,001     $50,000,001         $100,000,001     $500,000,001      More than
                                                                                                          $50,000        $100,000       $500,000          to $1          to $10           to $50          to $100             to $500          to $1 billion     $1 billion
                                                                                                                                                          million        million          million         million             million
                                                                                                          B1 (OfficialCase 10-49937
                                                                                                                      Form 1) (4/10)                     Doc 1          Filed 11/08/10 Entered 11/08/10 14:37:36 Desc Main                                                                  Page 2
                                                                                                          Voluntary Petition                                              Document     Page
                                                                                                                                                                                         Name 2
                                                                                                                                                                                              of of 62
                                                                                                                                                                                                 Debtor(s):
                                                                                                          (This page must be completed and filed in every case)                         John Albert Zasadil & Erin Kathleen Zasadil
                                                                                                                                All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
                                                                                                          Location                                                                              Case Number:                                          Date Filed:
                                                                                                          Where Filed:           NONE
                                                                                                           Location                                                                             Case Number:                                          Date Filed:
                                                                                                           Where Filed:
                                                                                                                                 N.A.
                                                                                                              Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
                                                                                                           Name of Debtor:       NONE                                                            Case Number:                                          Date Filed:


                                                                                                           District:                                                                            Relationship:                                          Judge:


                                                                                                                                          Exhibit A                                                                                         Exhibit B
                                                                                                                                                                                                                            (To be completed if debtor is an individual
                                                                                                          (To be completed if debtor is required to file periodic reports (e.g., forms                                      whose debts are primarily consumer debts)
                                                                                                          10K and 10Q) with the Securities and Exchange Commission pursuant to
                                                                                                          Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting            I, the attorney for the petitioner named in the foregoing petition, declare that I have informed
                                                                                                                                                                                                  the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13 of title 11, United
                                                                                                          relief under chapter 11)                                                                States Code, and have explained the relief available under each such chapter.
                                                                                                                                                                                                  I further certify that I delivered to the debtor the notice required by 11 U.S.C. § 342(b).



                                                                                                                   Exhibit A is attached and made a part of this petition.                        X         /s/ David Leibowitz                                      November 8, 2010
                                                                                                                                                                                                        Signature of Attorney for Debtor(s)                             Date


                                                                                                                                                                                        Exhibit C
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                                                                                                          Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

                                                                                                                   Yes, and Exhibit C is attached and made a part of this petition.

                                                                                                                   No


                                                                                                                                                                                         Exhibit D
                                                                                                            (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
                                                                                                                       Exhibit D completed and signed by the debtor is attached and made a part of this petition.
                                                                                                           If this is a joint petition:
                                                                                                                       Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.


                                                                                                                                                                      Information Regarding the Debtor - Venue
                                                                                                                                                                                   (Check any applicable box)
                                                                                                                                   Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days
                                                                                                                                   immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.

                                                                                                                                   There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.


                                                                                                                                   Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United Sates in this District,
                                                                                                                                   or has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in federal or state
                                                                                                                                   court] in this District, or the interests of the parties will be served in regard to the relief sought in this District.


                                                                                                                                             Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                                                                                                                    (Check all applicable boxes)
                                                                                                                                   Landlord has a judgment for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                                                                                                   (Name of landlord that obtained judgment)


                                                                                                                                                                                    (Address of landlord)
                                                                                                                                   Debtor claims that under applicable non bankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                                                                                                                                   entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                                                                                                                                   Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day
                                                                                                                                   period after the filing of the petition.
                                                                                                                                   Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(1)).
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                                                                                                          Voluntary Petition                                                                     Name of Debtor(s):
                                                                                                          (This page must be completed and filed in every case)                                   John Albert Zasadil & Erin Kathleen Zasadil
                                                                                                                                                                                         Signatures
                                                                                                                      Signature(s) of Debtor(s) (Individual/Joint)                                                Signature of a Foreign Representative
                                                                                                            I declare under penalty of perjury that the information provided in this petition
                                                                                                            is true and correct.
                                                                                                            [If petitioner is an individual whose debts are primarily consumer debts and         I declare under penalty of perjury that the information provided in this petition
                                                                                                            has chosen to file under chapter 7] I am aware that I may proceed under              is true and correct, that I am the foreign representative of a debtor in a foreign
                                                                                                            chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief      proceeding, and that I am authorized to file this petition.
                                                                                                            available under each such chapter, and choose to proceed under chapter 7.
                                                                                                            [If no attorney represents me and no bankruptcy petition preparer signs the          (Check only one box.)
                                                                                                            petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                                                                                                                            I request relief in accordance with chapter 15 of title 11, United States
                                                                                                            I request relief in accordance with the chapter of title 11, United States                      Code. Certified copies of the documents required by § 1515 of title 11 are
                                                                                                            Code, specified in this petition.                                                               attached.

                                                                                                                                                                                                            Pursuant to 11 U.S.C.§ 1511, I request relief in accordance with the chapter of
                                                                                                                                                                                                            title 11 specified in this petition. A certified copy of the order granting
                                                                                                                                                                                                            recognition of the foreign main proceeding is attached.
                                                                                                            X /s/ John Albert Zasadil
                                                                                                                Signature of Debtor                                                                X
                                                                                                                                                                                                       (Signature of Foreign Representative)
                                                                                                            X /s/ Erin Kathleen Zasadil
                                                                                                               Signature of Joint Debtor

                                                                                                                                                                                                        (Printed Name of Foreign Representative)
                                                                                                                Telephone Number (If not represented by attorney)
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                                                                                                                 November 8, 2010
                                                                                                                                                                                                         (Date)
                                                                                                                 Date

                                                                                                                                 Signature of Attorney*
                                                                                                           X      /s/ David Leibowitz                                                                       Signature of Non-Attorney Petition Preparer
                                                                                                                Signature of Attorney for Debtor(s)                                               I declare under penalty of perjury that: 1) I am a bankruptcy petition preparer
                                                                                                                                                                                                  as defined in 11 U.S.C. § 110, 2) I prepared this document for compensation,
                                                                                                               DAVID LEIBOWITZ 1612271                                                            and have provided the debtor with a copy of this document and the notices
                                                                                                                Printed Name of Attorney for Debtor(s)
                                                                                                                                                                                                  and information required under 11 U.S.C. § 110(b), 110(h), and 342(b); and,
                                                                                                                                                                                                  3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110
                                                                                                               Lakelaw                                                                            setting a maximum fee for services chargeable by bankruptcy petition
                                                                                                                Firm Name                                                                         preparers, I have given the debtor notice of the maximum amount before any
                                                                                                               420 West Clayton Street                                                            document for filing for a debtor or accepting any fee from the debtor, as
                                                                                                                Address                                                                           required in that section. Official Form 19 is attached.

                                                                                                               Waukegan, IL 60085
                                                                                                                                                                                                  Printed Name and title, if any, of Bankruptcy Petition Preparer
                                                                                                               847.249.9100 dleibowitz@lakelaw.com
                                                                                                               Telephone Number                                  e-mail
                                                                                                                                                                                                  Social Security Number (If the bankruptcy petition preparer is not an individual,
                                                                                                               November 8, 2010                                                                   state the Social Security number of the officer, principal, responsible person or
                                                                                                              Date                                                                                partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
                                                                                                           *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
                                                                                                           certification that the attorney has no knowledge after an inquiry that the
                                                                                                           information in the schedules is incorrect.                                              Address

                                                                                                                  Signature of Debtor (Corporation/Partnership)
                                                                                                             I declare under penalty of perjury that the information provided in this petition
                                                                                                             is true and correct, and that I have been authorized to file this petition on       X
                                                                                                             behalf of the debtor.

                                                                                                             The debtor requests relief in accordance with the chapter of title 11,                  Date
                                                                                                             United States Code, specified in this petition.
                                                                                                                                                                                                     Signature of bankruptcy petition preparer or officer, principal, responsible
                                                                                                                                                                                                     person, or partner whose Social Security number is provided above.
                                                                                                           X
                                                                                                               Signature of Authorized Individual                                                    Names and Social Security numbers of all other individuals who prepared or
                                                                                                                                                                                                     assisted in preparing this document unless the bankruptcy petition preparer is
                                                                                                                                                                                                     not an individual:
                                                                                                                Printed Name of Authorized Individual
                                                                                                                                                                                                     If more than one person prepared this document, attach additional sheets
                                                                                                                                                                                                     conforming to the appropriate official form for each person.
                                                                                                                Title of Authorized Individual
                                                                                                                                                                                                     A bankruptcy petition preparer’s failure to comply with the provisions of title 11
                                                                                                                                                                                                     and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                                               Date
                                                                                                                                                                                                     imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.
                                                                                                                  Case 10-49937                Doc 1   Filed 11/08/10 Entered 11/08/10 14:37:36     Desc Main
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                                                                                                          B1 D (Official Form 1, Exhibit D ) (12/09)


                                                                                                                                              UNITED STATES BANKRUPTCY COURT
                                                                                                                                                         Northern District of Illinois



                                                                                                                  John Albert Zasadil & Erin Kathleen
                                                                                                                  Zasadil
                                                                                                          In re______________________________________                                Case No._____________
                                                                                                                       Debtor(s)                                                           (if known)


                                                                                                                     EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                                                                                                                     CREDIT COUNSELING REQUIREMENT

                                                                                                                  Warning: You must be able to check truthfully one of the five statements regarding
                                                                                                          credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
                                                                                                          case, and the court can dismiss any case you do file. If that happens, you will lose whatever
                                                                                                          filing fee you paid, and your creditors will be able to resume collection activities against
                                                                                                          you. If your case is dismissed and you file another bankruptcy case later, you may be
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                                                                                                          required to pay a second filing fee and you may have to take extra steps to stop creditors'
                                                                                                          collection activities.

                                                                                                                 Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
                                                                                                          must complete and file a separate Exhibit D. Check one of the five statements below and attach
                                                                                                          any documents as directed.

                                                                                                                 1. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                                          from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                                          administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                                          performing a related budget analysis, and I have a certificate from the agency describing the
                                                                                                          services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
                                                                                                          developed through the agency.

                                                                                                                  2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                                          from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                                          administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                                          performing a related budget analysis, but I do not have a certificate from the agency describing
                                                                                                          the services provided to me. You must file a copy of a certificate from the agency describing the
                                                                                                          services provided to you and a copy of any debt repayment plan developed through the agency
                                                                                                          no later than 14 days after your bankruptcy case is filed.
                                                                                                                  Case 10-49937               Doc 1        Filed 11/08/10 Entered 11/08/10 14:37:36   Desc Main
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                                                                                                                  3. I certify that I requested credit counseling services from an approved agency but
                                                                                                          was unable to obtain the services during the seven days from the time I made my request, and the
                                                                                                          following exigent circumstances merit a temporary waiver of the credit counseling requirement
                                                                                                          so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




                                                                                                                 If your certification is satisfactory to the court, you must still obtain the credit
                                                                                                          counseling briefing within the first 30 days after you file your bankruptcy petition and
                                                                                                          promptly file a certificate from the agency that provided the counseling, together with a
                                                                                                          copy of any debt management plan developed through the agency. Failure to fulfill these
                                                                                                          requirements may result in dismissal of your case. Any extension of the 30-day deadline
                                                                                                          can be granted only for cause and is limited to a maximum of 15 days. Your case may also
                                                                                                          be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
                                                                                                          without first receiving a credit counseling briefing.

                                                                                                                 4. I am not required to receive a credit counseling briefing because of: [Check the
                                                                                                          applicable statement.] [Must be accompanied by a motion for determination by the court.]
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                                                                                                                         Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental
                                                                                                                 illness or mental deficiency so as to be incapable of realizing and making rational
                                                                                                                 decisions with respect to financial responsibilities.);
                                                                                                                         Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the
                                                                                                                 extent of being unable, after reasonable effort, to participate in a credit counseling
                                                                                                                 briefing in person, by telephone, or through the Internet.);
                                                                                                                         Active military duty in a military combat zone.

                                                                                                                 5. The United States trustee or bankruptcy administrator has determined that the credit
                                                                                                          counseling requirement of 11 U.S.C. § 109(h) does not apply in this district.

                                                                                                                 I certify under penalty of perjury that the information provided above is true and
                                                                                                          correct.



                                                                                                                                       Signature of Debtor:              /s/ John Albert Zasadil
                                                                                                                                                                         JOHN ALBERT ZASADIL

                                                                                                                                                                     November 8, 2010
                                                                                                                                                            Date: _________________
                                                                                                                  Case 10-49937                Doc 1   Filed 11/08/10 Entered 11/08/10 14:37:36     Desc Main
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                                                                                                                                              UNITED STATES BANKRUPTCY COURT
                                                                                                                                                         Northern District of Illinois



                                                                                                                  John Albert Zasadil & Erin Kathleen
                                                                                                                  Zasadil
                                                                                                          In re______________________________________                                Case No._____________
                                                                                                                       Debtor(s)                                                           (if known)


                                                                                                                     EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                                                                                                                     CREDIT COUNSELING REQUIREMENT

                                                                                                                  Warning: You must be able to check truthfully one of the five statements regarding
                                                                                                          credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
                                                                                                          case, and the court can dismiss any case you do file. If that happens, you will lose whatever
                                                                                                          filing fee you paid, and your creditors will be able to resume collection activities against
                                                                                                          you. If your case is dismissed and you file another bankruptcy case later, you may be
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                                                                                                          required to pay a second filing fee and you may have to take extra steps to stop creditors'
                                                                                                          collection activities.

                                                                                                                 Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
                                                                                                          must complete and file a separate Exhibit D. Check one of the five statements below and attach
                                                                                                          any documents as directed.

                                                                                                                 1. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                                          from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                                          administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                                          performing a related budget analysis, and I have a certificate from the agency describing the
                                                                                                          services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
                                                                                                          developed through the agency.

                                                                                                                  2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                                          from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                                          administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                                          performing a related budget analysis, but I do not have a certificate from the agency describing
                                                                                                          the services provided to me. You must file a copy of a certificate from the agency describing the
                                                                                                          services provided to you and a copy of any debt repayment plan developed through the agency
                                                                                                          no later than 14 days after your bankruptcy case is filed.
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                                                                                                                  3. I certify that I requested credit counseling services from an approved agency but
                                                                                                          was unable to obtain the services during the seven days from the time I made my request, and the
                                                                                                          following exigent circumstances merit a temporary waiver of the credit counseling requirement
                                                                                                          so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




                                                                                                                 If your certification is satisfactory to the court, you must still obtain the credit
                                                                                                          counseling briefing within the first 30 days after you file your bankruptcy petition and
                                                                                                          promptly file a certificate from the agency that provided the counseling, together with a
                                                                                                          copy of any debt management plan developed through the agency. Failure to fulfill these
                                                                                                          requirements may result in dismissal of your case. Any extension of the 30-day deadline
                                                                                                          can be granted only for cause and is limited to a maximum of 15 days. Your case may also
                                                                                                          be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
                                                                                                          without first receiving a credit counseling briefing.

                                                                                                                 4. I am not required to receive a credit counseling briefing because of: [Check the
                                                                                                          applicable statement.] [Must be accompanied by a motion for determination by the court.]
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                                                                                                                         Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental
                                                                                                                 illness or mental deficiency so as to be incapable of realizing and making rational
                                                                                                                 decisions with respect to financial responsibilities.);
                                                                                                                         Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the
                                                                                                                 extent of being unable, after reasonable effort, to participate in a credit counseling
                                                                                                                 briefing in person, by telephone, or through the Internet.);
                                                                                                                         Active military duty in a military combat zone.

                                                                                                                 5. The United States trustee or bankruptcy administrator has determined that the credit
                                                                                                          counseling requirement of 11 U.S.C. § 109(h) does not apply in this district.

                                                                                                                 I certify under penalty of perjury that the information provided above is true and
                                                                                                          correct.



                                                                                                                                    Signature of Joint Debtor:           /s/ Erin Kathleen Zasadil
                                                                                                                                                                         ERIN KATHLEEN ZASADIL

                                                                                                                                                                     November 8, 2010
                                                                                                                                                            Date: _________________
                                                                                                          Case 10-49937       Doc 1     Filed 11/08/10 Entered 11/08/10 14:37:36              Desc Main
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                                                                                                          B6 Cover (Form 6 Cover) (12/07)



                                                                                                          FORM 6. SCHEDULES

                                                                                                          Summary of Schedules
                                                                                                          Statistical Summary of Certain Liabilities and Related Data (28 U.S.C. § 159)
                                                                                                          Schedule A - Real Property
                                                                                                          Schedule B - Personal Property
                                                                                                          Schedule C - Property Claimed as Exempt
                                                                                                          Schedule D - Creditors Holding Secured Claims
                                                                                                          Schedule E - Creditors Holding Unsecured Priority Claims
                                                                                                          Schedule F - Creditors Holding Unsecured Nonpriority Claims
                                                                                                          Schedule G - Executory Contracts and Unexpired Leases
                                                                                                          Schedule H - Codebtors
                                                                                                          Schedule I - Current Income of Individual Debtor(s)
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                                                                                                          Schedule J - Current Expenditures of Individual Debtor(s)

                                                                                                          Unsworn Declaration under Penalty of Perjury


                                                                                                          GENERAL INSTRUCTIONS: The first page of the debtor’s schedules and the first page of any
                                                                                                          amendments thereto must contain a caption as in Form 16B. Subsequent pages should be
                                                                                                          identified with the debtor’s name and case number. If the schedules are filed with the petition,
                                                                                                          the case number should be left blank

                                                                                                          Schedules D, E, and F have been designed for the listing of each claim only once. Even when a
                                                                                                          claim is secured only in part or entitled to priority only in part, it still should be listed only once.
                                                                                                          A claim which is secured in whole or it part should be listed on Schedule D only, and a claim
                                                                                                          which is entitled to priority in whole or in part should be listed on Schedule E only. Do not list
                                                                                                          the same claim twice. If a creditor has more than one claim, such as claims arising from separate
                                                                                                          transactions, each claim should be scheduled separately.

                                                                                                          Review the specific instructions for each schedule before completing the schedule.
                                                                                                                         Case
                                                                                                          B6A (Official Form 6A)10-49937
                                                                                                                                 (12/07)             Doc 1        Filed 11/08/10 Entered 11/08/10 14:37:36                                            Desc Main
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                                                                                                          In re    John Albert Zasadil & Erin Kathleen Zasadil                                           Case No.
                                                                                                                                     Debtor                                                                                                    (If known)

                                                                                                                                                          SCHEDULE A - REAL PROPERTY
                                                                                                             Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a co-
                                                                                                          tenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
                                                                                                          the debtor’s own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an “H,”
                                                                                                          “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write “None” under
                                                                                                          “Description and Location of Property.”

                                                                                                            Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
                                                                                                          Unexpired Leases.

                                                                                                              If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
                                                                                                          claims to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

                                                                                                             If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C –
                                                                                                          Property Claimed as Exempt.




                                                                                                                                                                                                                HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                  OR COMMUNITY
                                                                                                                                                                                                                                         CURRENT VALUE
                                                                                                                                                                                                                                           OF DEBTOR’S
                                                                                                                        DESCRIPTION AND LOCATION                              NATURE OF DEBTOR’S                                           INTEREST IN      AMOUNT OF
                                                                                                                               OF PROPERTY                                   INTEREST IN PROPERTY                                      PROPERTY, WITHOUT     SECURED
                                                                                                                                                                                                                                         DEDUCTING ANY        CLAIM
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                                                                                                                                                                                                                                         SECURED CLAIM
                                                                                                                                                                                                                                          OR EXEMPTION



                                                                                                           Home                                                          Fee Simple                                 J                         145,000.00      107,393.95
                                                                                                           17812 Greentree Road
                                                                                                           Wildwood, IL60030
                                                                                                           Value per Zillow




                                                                                                                                                                                                        Total                                 145,000.00
                                                                                                                                                                                                        (Report also on Summary of Schedules.)
                                                                                                                         Case
                                                                                                          B6B (Official Form 6B)10-49937
                                                                                                                                 (12/07)                           Doc 1     Filed 11/08/10 Entered 11/08/10 14:37:36                        Desc Main
                                                                                                                                                                              Document     Page 10 of 62
                                                                                                          In re     John Albert Zasadil & Erin Kathleen Zasadil                                            Case No.
                                                                                                                                            Debtor                                                                             (If known)

                                                                                                                                                             SCHEDULE B - PERSONAL PROPERTY
                                                                                                               Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
                                                                                                          place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly
                                                                                                          identified with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital
                                                                                                          community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an
                                                                                                          individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

                                                                                                              Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
                                                                                                          Unexpired Leases.

                                                                                                                If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.”
                                                                                                          If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
                                                                                                          "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See. 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).




                                                                                                                                                                                                                                     HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                            CURRENT VALUE OF




                                                                                                                                                                                                                                       OR COMMUNITY
                                                                                                                                                                                                                                                            DEBTOR’S INTEREST
                                                                                                                                                                    N                                                                                          IN PROPERTY,
                                                                                                                      TYPE OF PROPERTY                              O                   DESCRIPTION AND LOCATION                                                 WITHOUT
                                                                                                                                                                    N                         OF PROPERTY                                                    DEDUCTING ANY
                                                                                                                                                                    E                                                                                        SECURED CLAIM
                                                                                                                                                                                                                                                              OR EXEMPTION
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                                                                                                            1. Cash on hand.                                               Cash                                                          J                            44.00
                                                                                                                                                                           On Debtors' person

                                                                                                            2. Checking, savings or other financial accounts,
                                                                                                            certificates of deposit, or shares in banks, savings
                                                                                                                                                                           Checking Account                                              J                           951.24
                                                                                                            and loan, thrift, building and loan, and homestead             First Midwest Bank
                                                                                                            associations, or credit unions, brokerage houses,
                                                                                                            or cooperatives.
                                                                                                                                                                           Savings Account                                               J                             0.00
                                                                                                                                                                           First Midwest Bank

                                                                                                                                                                           Checking account                                              H                           423.00
                                                                                                                                                                           First Midwest Bank

                                                                                                                                                                           PayPal account                                                W                           200.00
                                                                                                            3. Security deposits with public utilities,             X
                                                                                                            telephone companies, landlords, and others.

                                                                                                            4. Household goods and furnishings, including
                                                                                                            audio, video, and computer equipment.
                                                                                                                                                                           Furniture and Household Goods                                 J                           800.00
                                                                                                                                                                           Home

                                                                                                            5. Books. Pictures and other art objects,               X
                                                                                                            antiques, stamp, coin, record, tape, compact disc,
                                                                                                            and other collections or collectibles.

                                                                                                            6. Wearing apparel.                                            Clothing                                                      J                           400.00
                                                                                                                                                                           Home

                                                                                                            7. Furs and jewelry.                                           Wedding Bands and Costume Jewerly                             J                         1,000.00
                                                                                                                                                                           Home
                                                                                                                         Case
                                                                                                          B6B (Official Form 6B)10-49937
                                                                                                                                (12/07) -- Cont.                   Doc 1     Filed 11/08/10 Entered 11/08/10 14:37:36              Desc Main
                                                                                                                                                                              Document     Page 11 of 62
                                                                                                          In re     John Albert Zasadil & Erin Kathleen Zasadil                                            Case No.
                                                                                                                                            Debtor                                                                    (If known)

                                                                                                                                                               SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                                                                  (Continuation Sheet)




                                                                                                                                                                                                                           HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                  CURRENT VALUE OF




                                                                                                                                                                                                                             OR COMMUNITY
                                                                                                                                                                                                                                                  DEBTOR’S INTEREST
                                                                                                                                                                    N                                                                                IN PROPERTY,
                                                                                                                      TYPE OF PROPERTY                              O                   DESCRIPTION AND LOCATION                                       WITHOUT
                                                                                                                                                                    N                         OF PROPERTY                                          DEDUCTING ANY
                                                                                                                                                                    E                                                                              SECURED CLAIM
                                                                                                                                                                                                                                                    OR EXEMPTION


                                                                                                            8. Firearms and sports, photographic, and other
                                                                                                            hobby equipment.
                                                                                                                                                                           Fishing Equiptment                                  J                           200.00
                                                                                                                                                                           Home

                                                                                                            9. Interests in insurance policies. Name
                                                                                                            insurance company of each policy and itemize
                                                                                                                                                                           Term Life Insurance Policy                          H                             0.00
                                                                                                            surrender or refund value of each.                             Policy offered through employment
                                                                                                                                                                           Benefit is double annual salary

                                                                                                                                                                    X
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                                                                                                            10. Annuities. Itemize and name each issuer.

                                                                                                            11. Interests in an education IRA as defined in 26      X
                                                                                                            U.S.C. § 530(b)(1) or under a qualified State
                                                                                                            tuition plan as defined in 26 U.S.C. § 529(b)(1).
                                                                                                            Give particulars. (File separately the record(s) of
                                                                                                            any such interest(s). 11 U.S.C. § 521(c).)

                                                                                                            12. Interests in IRA, ERISA, Keogh, or other
                                                                                                            pension or profit sharing plans. Give particulars.
                                                                                                                                                                           401(k)                                              H                         1,098.00
                                                                                                                                                                           Diversified Investments

                                                                                                            13. Stock and interests in incorporated and
                                                                                                            unincorporated businesses. Itemize.
                                                                                                                                                                           10 shares of AT&T stock                             J                           291.00
                                                                                                                                                                           100% Interest in Snowbusiness                       J                             0.00
                                                                                                                                                                           Sole proprietor
                                                                                                                                                                           Home

                                                                                                            14. Interests in partnerships or joint ventures.        X
                                                                                                            Itemize.

                                                                                                            15. Government and corporate bonds and other            X
                                                                                                            negotiable and non-negotiable instruments.

                                                                                                            16. Accounts receivable.                                X
                                                                                                            17. Alimony, maintenance, support, and property         X
                                                                                                            settlement to which the debtor is or may be
                                                                                                            entitled. Give particulars.

                                                                                                            18. Other liquidated debts owing debtor including       X
                                                                                                            tax refunds. Give particulars.

                                                                                                            19. Equitable or future interests, life estates, and    X
                                                                                                            rights or powers exercisable for the benefit of the
                                                                                                            debtor other than those listed in Schedule A - Real
                                                                                                            Property.
                                                                                                                        Case6B)10-49937
                                                                                                          B6B (Official Form    (12/07) -- Cont.Doc                  1     Filed 11/08/10 Entered 11/08/10 14:37:36                                      Desc Main
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                                                                                                          In re     John Albert Zasadil & Erin Kathleen Zasadil                                               Case No.
                                                                                                                                            Debtor                                                                                     (If known)

                                                                                                                                                              SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                                                                (Continuation Sheet)




                                                                                                                                                                                                                                                 HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                                        CURRENT VALUE OF




                                                                                                                                                                                                                                                   OR COMMUNITY
                                                                                                                                                                                                                                                                        DEBTOR’S INTEREST
                                                                                                                                                                 N                                                                                                         IN PROPERTY,
                                                                                                                      TYPE OF PROPERTY                           O                    DESCRIPTION AND LOCATION                                                               WITHOUT
                                                                                                                                                                 N                          OF PROPERTY                                                                  DEDUCTING ANY
                                                                                                                                                                 E                                                                                                       SECURED CLAIM
                                                                                                                                                                                                                                                                          OR EXEMPTION


                                                                                                            20. Contingent and noncontingent interests in        X
                                                                                                            estate or a decedent, death benefit plan, life
                                                                                                            insurance policy, or trust.

                                                                                                            21. Other contingent and unliquidated claims of
                                                                                                            every nature, including tax refunds, counterclaims
                                                                                                                                                                         Estimated 2010 tax refund                                                   J                         2,000.00
                                                                                                            of the debtor, and rights of setoff claims. Give
                                                                                                            estimated value of each.

                                                                                                            22. Patents, copyrights, and other intellectual      X
                                                                                                            property. Give particulars.

                                                                                                            23. Licenses, franchises, and other general          X
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                                                                                                            intangibles. Give particulars.

                                                                                                            24. Customer lists or other compilations             X
                                                                                                            containing personally identifiable information (as
                                                                                                            defined in 11 U.S.C. §101(41A)) provided to the
                                                                                                            debtor by individuals in connection with obtaining
                                                                                                            a product or service from the debtor primarily for
                                                                                                            personal, family, or household purposes.

                                                                                                            25. Automobiles, trucks, trailers, and other
                                                                                                            vehicles and accessories.
                                                                                                                                                                         2004 Buick Rainier(106,000 miles)                                           J                        11,225.00
                                                                                                                                                                         Home

                                                                                                            26. Boats, motors, and accessories.                  X
                                                                                                            27. Aircraft and accessories.                        X
                                                                                                            28. Office equipment, furnishings, and supplies.     X
                                                                                                            29. Machinery, fixtures, equipment, and supplies     X
                                                                                                            used in business.

                                                                                                            30. Inventory.                                       X
                                                                                                            31. Animals.                                                 Yellow labrador                                                             J                             0.00
                                                                                                            32. Crops - growing or harvested. Give               X
                                                                                                            particulars.

                                                                                                            33. Farming equipment and implements.                X
                                                                                                            34. Farm supplies, chemicals, and feed.              X
                                                                                                            35. Other personal property of any kind not          X
                                                                                                            already listed. Itemize.




                                                                                                                                                                                           0         continuation sheets attached        Total                          $     18,632.24
                                                                                                                                                                                                     (Include amounts from any continuation
                                                                                                                                                                                                       sheets attached. Report total also on
                                                                                                                                                                                                             Summary of Schedules.)
                                                                                                                          Case 10-49937            Doc 1       Filed 11/08/10 Entered 11/08/10 14:37:36                           Desc Main
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                                                                                                          In re     John Albert Zasadil & Erin Kathleen Zasadil                                     Case No.
                                                                                                                                    Debtor                                                                                (If known)

                                                                                                                                   SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                                                            Debtor claims the exemptions to which debtor is entitled under:
                                                                                                            (Check one box)

                                                                                                                  11 U.S.C. § 522(b)(2)                                             Check if debtor claims a homestead exemption that exceeds
                                                                                                                                                                                    $146,450*.
                                                                                                                  11 U.S.C. § 522(b)(3)



                                                                                                                                                                                                                                     CURRENT
                                                                                                                                                                         SPECIFY LAW                         VALUE OF           VALUE OF PROPERTY
                                                                                                                      DESCRIPTION OF PROPERTY                          PROVIDING EACH                        CLAIMED            WITHOUT DEDUCTING
                                                                                                                                                                          EXEMPTION                         EXEMPTION               EXEMPTION


                                                                                                             Fishing Equiptment                              735 I.L.C.S 5§12-1001(b)                                100.00                       200.00
                                                                                                                                                             735 I.L.C.S 5§12-1001(b)                                100.00

                                                                                                             Wedding Bands and Costume Jewerly               735 I.L.C.S 5§12-1001(b)                                500.00                      1,000.00
                                                                                                                                                             735 I.L.C.S 5§12-1001(b)                                500.00

                                                                                                             Clothing                                        735 I.L.C.S 5§12-1001(a)                                200.00                       400.00
                                                                                                                                                             735 I.L.C.S 5§12-1001(a)                                200.00
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                                                                                                             Home                                            735 I.L.C.S 5§12-901                                 15,000.00                 145,000.00
                                                                                                                                                             735 I.L.C.S 5§12-901                                 15,000.00

                                                                                                             Checking Account                                735 I.L.C.S 5§12-1001(b)                                421.74                       951.24
                                                                                                                                                             735 I.L.C.S 5§12-901                                      0.00
                                                                                                                                                             735 I.L.C.S 5§12-1001(b)                                529.50

                                                                                                             Furniture and Household Goods                   735 I.L.C.S 5§12-1001(b)                                800.00                       800.00

                                                                                                             10 shares of AT&T stock                         735 I.L.C.S 5§12-1001(b)                                191.00                       291.00
                                                                                                                                                             735 I.L.C.S 5§12-1001(b)                                100.00

                                                                                                             2004 Buick Rainier(106,000 miles)               735 I.L.C.S 5§12-1001(c)                               2,400.00                    11,225.00
                                                                                                                                                             735 I.L.C.S 5§12-1001(c)                               1,091.00

                                                                                                             Term Life Insurance Policy                      735 I.L.C.S 5§12-1001(f)                                   0.00                         0.00

                                                                                                             401(k)                                          735 I.L.C.S 5§12-1006                                  1,098.00                     1,098.00

                                                                                                             Cash                                            735 I.L.C.S 5§12-1001(b)                                 44.00                        44.00

                                                                                                             Checking account                                735 I.L.C.S 5§12-1001(b)                                423.00                       423.00

                                                                                                             PayPal account                                  735 I.L.C.S 5§12-1001(b)                                200.00                       200.00

                                                                                                             Estimated 2010 tax refund                       735 I.L.C.S 5§12-1001(b)                               2,000.00                     2,000.00

                                                                                                                                                             Total exemptions claimed:                            40,898.24




                                                                                                            *Amount subject to adjustment on 4/1/13 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                                                      Case 10-49937               Doc 1                   Filed 11/08/10 Entered 11/08/10 14:37:36                                                          Desc Main
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                                                                                                          B6D (Official Form 6D) (12/07)

                                                                                                                   John Albert Zasadil & Erin Kathleen Zasadil
                                                                                                          In re _______________________________________________,                                                              Case No. _________________________________
                                                                                                                                        Debtor                                                                                                                               (If known)

                                                                                                                             SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                                    State the name, mailing address, including zip code and last four digits of any account number of all entities holding claims secured
                                                                                                          by property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
                                                                                                          useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests
                                                                                                          such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
                                                                                                                     List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, state the child's initials and the name and
                                                                                                          address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C
                                                                                                          §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
                                                                                                                    If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor,"
                                                                                                          include the entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether
                                                                                                          husband, wife, both of them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled
                                                                                                          "Husband, Wife, Joint, or Community."
                                                                                                                    If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column
                                                                                                          labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than
                                                                                                          one of these three columns.)
                                                                                                                    Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes
                                                                                                          labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting
                                                                                                          Value of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from
                                                                                                          the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain Liabilities and Related Data.


                                                                                                                    Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
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                                                                                                                                                                                                                                                                        AMOUNT
                                                                                                                                                                    HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                            UNLIQUIDATED
                                                                                                                                                                                                                               CONTINGENT
                                                                                                                                                                                              DATE CLAIM WAS INCURRED,                                                     OF
                                                                                                                                                         CODEBTOR




                                                                                                                                                                                                                                                           DISPUTED
                                                                                                                                                                       ORCOMMUNITY




                                                                                                                     CREDITOR’S NAME,
                                                                                                                      MAILING ADDRESS                                                            NATURE OF LIEN, AND                                                     CLAIM            UNSECURED
                                                                                                                    INCLUDING ZIP CODE,                                                           DESCRIPTION AND                                                       WITHOUT            PORTION,
                                                                                                                   AND ACCOUNT NUMBER                                                            VALUE OF PROPERTY                                                     DEDUCTING            IF ANY
                                                                                                                     (See Instructions Above.)                                                     SUBJECT TO LIEN                                                      VALUE OF
                                                                                                                                                                                                                                                                      COLLATERAL


                                                                                                          ACCOUNT NO. 4828                                                                 Security: Home
                                                                                                          BAC Home Loan Services
                                                                                                          450 American St.                                          J                                                                                                   107,393.95             0.00
                                                                                                          Simi Valley, CA 93065

                                                                                                                                                                                           VALUE $              145,000.00
                                                                                                          ACCOUNT NO. 1259                                                                 Incurred: 2007
                                                                                                          Nuvell Credit Union                                                              Lien: PMSI in vehicle < 910 days
                                                                                                          P.O. Box 380902                                           J                      Security: 2004 Buick Rainier                                                   7,734.00             0.00
                                                                                                          Bloomington, MN 55438-0902

                                                                                                                                                                                           VALUE $               11,225.00
                                                                                                          ACCOUNT NO.




                                                                                                                                                                                            VALUE $

                                                                                                             0
                                                                                                           _______continuation sheets attached                                                                               Subtotal     $                             115,127.95 $           0.00
                                                                                                                                                                                                                     (Total of this page)
                                                                                                                                                                                                                                 Total    $                             115,127.95 $           0.00
                                                                                                                                                                                                                  (Use only on last page)
                                                                                                                                                                                                                                                            (Report also on       (If applicable, report
                                                                                                                                                                                                                                                            Summary of Schedules) also on Statistical
                                                                                                                                                                                                                                                                                  Summary of Certain
                                                                                                                                                                                                                                                                                  Liabilities and Related
                                                                                                                                                                                                                                                                                  Data.)
                                                                                                                       Case 10-49937               Doc 1        Filed 11/08/10 Entered 11/08/10 14:37:36                                      Desc Main
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                                                                                                          B6E (Official Form 6E) (04/10)


                                                                                                                     John Albert Zasadil & Erin Kathleen Zasadil
                                                                                                             In re________________________________________________________________,                             Case No.______________________________
                                                                                                                                     Debtor                                                                                   (if known)

                                                                                                                  SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                                   A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
                                                                                                            unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing
                                                                                                            address, including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the
                                                                                                            property of the debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with
                                                                                                            the type of priority.

                                                                                                                   The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                                                                                                            the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
                                                                                                            "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed.R.Bankr.P. 1007(m).

                                                                                                                    If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
                                                                                                            entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife,
                                                                                                            both of them or the marital community may be liable on each claim by placing an "H,""W,""J," or "C" in the column labeled "Husband, Wife,
                                                                                                            Joint, or Community." If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X"
                                                                                                            in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in
                                                                                                            more than one of these three columns.)

                                                                                                                  Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this
                                                                                                            Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

                                                                                                                      Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
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                                                                                                            amounts entitled to priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with
                                                                                                            primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

                                                                                                                     Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all
                                                                                                            amounts not entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors
                                                                                                            with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related
                                                                                                            Data.



                                                                                                                Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

                                                                                                           TYPES OF PRIORITY CLAIMS                   (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)



                                                                                                                 Domestic Support Obligations

                                                                                                                Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
                                                                                                          or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
                                                                                                          11 U.S.C. § 507(a)(1).


                                                                                                                 Extensions of credit in an involuntary case

                                                                                                                Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
                                                                                                          appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

                                                                                                                 Wages, salaries, and commissions

                                                                                                                   Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
                                                                                                           independent sales representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original petition, or the
                                                                                                           cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

                                                                                                                 Contributions to employee benefit plans

                                                                                                                      Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
                                                                                                              cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

                                                                                                                    *Amount subject to adjustment on 4/1/13 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                                                       Case 10-49937               Doc 1        Filed 11/08/10 Entered 11/08/10 14:37:36                              Desc Main
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                                                                                                          B6E (Official Form 6E) (04/10) - Cont.


                                                                                                                        John Albert Zasadil & Erin Kathleen Zasadil
                                                                                                                In re________________________________________________________________,                      Case No.______________________________
                                                                                                                                        Debtor                                                                            (if known)




                                                                                                                 Certain farmers and fishermen
                                                                                                               Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


                                                                                                                 Deposits by individuals
                                                                                                               Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
                                                                                                           that were not delivered or provided. 11 U.S.C. § 507(a)(7).

                                                                                                                 Taxes and Certain Other Debts Owed to Governmental Units

                                                                                                               Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).
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                                                                                                                 Commitments to Maintain the Capital of an Insured Depository Institution

                                                                                                              Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
                                                                                                           Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11
                                                                                                           U.S.C. § 507 (a)(9).



                                                                                                                 Claims for Death or Personal Injury While Debtor Was Intoxicated

                                                                                                                Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
                                                                                                          alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).
                                                                                                          alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).




                                                                                                            * Amounts are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of
                                                                                                            adjustment.




                                                                                                                                                                     1 continuation sheets attached
                                                                                                                                                                    ____
                                                                                                                       Case 10-49937                Doc 1                        Filed 11/08/10 Entered 11/08/10 14:37:36                                                                       Desc Main
                                                                                                                                                                                  Document     Page 17 of 62
                                                                                                          B6E (Official Form 6E) (04/10) - Cont.


                                                                                                                   John Albert Zasadil & Erin Kathleen Zasadil
                                                                                                            In re __________________________________________________,                                                                                               Case No. _________________________________
                                                                                                                                              Debtor                                                                                                                                          (If known)

                                                                                                               SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                                                                                                                      (Continuation Sheet)                                               Sec. 507(a)(8)

                                                                                                                                                                                                                                                                    Type of Priority for Claims Listed on This Sheet




                                                                                                                                                                       HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                          UNLIQUIDATED
                                                                                                                                                                         ORCOMMUNITY




                                                                                                                                                                                                                             CONTINGENT
                                                                                                                                                                                                                                                                                                             AMOUNT

                                                                                                                                                            CODEBTOR
                                                                                                                      CREDITOR’S NAME,                                                         DATE CLAIM WAS




                                                                                                                                                                                                                                                         DISPUTED
                                                                                                                      MAILING ADDRESS                                                           INCURRED AND                                                              AMOUNT            AMOUNT             NOT
                                                                                                                    INCLUDING ZIP CODE,                                                        CONSIDERATION                                                                OF            ENTITLED TO       ENTITLED
                                                                                                                   AND ACCOUNT NUMBER                                                             FOR CLAIM                                                                CLAIM           PRIORITY            TO
                                                                                                                     (See instructions above..)                                                                                                                                                            PRIORITY, IF
                                                                                                                                                                                                                                                                                                               ANY

                                                                                                          ACCOUNT NO.                                                                         Incurred: 7/15/10
                                                                                                                            5593
                                                                                                                                                                                              Consideration: Outstanding
                                                                                                          Ill. Dept. of Employment Security                                                   overpayment to IDES
                                                                                                          Benefit Repayments                                              H                                                                                                    970.00           970.00             0.00
                                                                                                          P.O. Box 19286
                                                                                                          Springfield, IL 62794-9286
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                                                                                                          ACCOUNT NO.




                                                                                                          ACCOUNT NO.




                                                                                                          ACCOUNT NO.




                                                                                                                     1 of ___continuation
                                                                                                                           1                                                                                           Subtotal                                      $         970.00 $                    $
                                                                                                          Sheet no. ___                    sheets attached to Schedule of                                     (Totals of this page)
                                                                                                          Creditors Holding Priority Claims
                                                                                                                                                                                                                       Total                                         $         970.00
                                                                                                                                                                        (Use only on last page of the completed
                                                                                                                                                                        Schedule E.) Report also on the Summary
                                                                                                                                                                        of Schedules)

                                                                                                                                                                                                                           Totals                                    $                    $     970.00      $      0.00
                                                                                                                                                                        (Use only on last page of the completed
                                                                                                                                                                        Schedule E. If applicable, report also on
                                                                                                                                                                        the Statistical Summary of Certain
                                                                                                                                                                        Liabilities and Related Data.)
                                                                                                                         Case 10-49937                 Doc 1                     Filed 11/08/10 Entered 11/08/10 14:37:36                                                      Desc Main
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                                                                                                          B6F (Official Form 6F) (12/07)

                                                                                                                   John Albert Zasadil & Erin Kathleen Zasadil
                                                                                                           In re __________________________________________,                                                                   Case No. _________________________________
                                                                                                                                          Debtor                                                                                                                          (If known)

                                                                                                                SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority
                                                                                                           against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
                                                                                                           useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address
                                                                                                           of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed. R. Bankr. P.
                                                                                                           1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
                                                                                                                      If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
                                                                                                           appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital
                                                                                                           community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."

                                                                                                                     If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
                                                                                                           "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

                                                                                                                     Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the
                                                                                                           Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and
                                                                                                           Related Data.
                                                                                                                    Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                                                                                                                                          HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                           UNLIQUIDATED
                                                                                                                                                                            ORCOMMUNITY




                                                                                                                                                                                                                                              CONTINGENT
                                                                                                                                                               CODEBTOR




                                                                                                                                                                                                      DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                          DISPUTED
                                                                                                                      CREDITOR’S NAME,                                                                                                                                                   AMOUNT
                                                                                                                       MAILING ADDRESS                                                                  CONSIDERATION FOR CLAIM.
                                                                                                                                                                                                      IF CLAIM IS SUBJECT TO SETOFF,                                                       OF
                                                                                                                     INCLUDING ZIP CODE,
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                                                                                                                                                                                                                 SO STATE.                                                                CLAIM
                                                                                                                    AND ACCOUNT NUMBER
                                                                                                                      (See instructions above.)

                                                                                                          ACCOUNT NO.         -001                                                               Consideration: Medical services
                                                                                                          Advocate Condell Medical Center
                                                                                                          P.O. Box 6572                                                   W                                                                                                                        40.00
                                                                                                          Carol Stream, IL 60197-6572



                                                                                                          ACCOUNT NO.         E582                                                               Consideration: Medical services
                                                                                                          Apria Healthcare
                                                                                                          P.O. Box 80217                                                  H                                                                                                                       102.00
                                                                                                          Chicago, IL 60680-2017



                                                                                                          ACCOUNT NO.                                                                            Collecting For Home Depot/citibank
                                                                                                          Asset Acceptance
                                                                                                          P.O. Box 1630                                                   W                                                                                                              Notice Only
                                                                                                          Warren, MI 48090



                                                                                                          ACCOUNT NO.         0349                                                               Consideration: Credit Cards
                                                                                                          Carol Wright
                                                                                                          Po Box 2852                                                     W                                                                                                                       153.00
                                                                                                          Monroe, WI 53566



                                                                                                                9
                                                                                                              _______continuation sheets attached                                                                                           Subtotal                                 $            295.00
                                                                                                                                                                                                                              Total                                                  $
                                                                                                                                                                               (Use only on last page of the completed Schedule F.)
                                                                                                                                                           (Report also on Summary of Schedules and, if applicable, on the Statistical
                                                                                                                                                                                 Summary of Certain Liabilities and Related Data.)
                                                                                                                       Case 10-49937               Doc 1                      Filed 11/08/10 Entered 11/08/10 14:37:36                                                              Desc Main
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                                                                                                                    John Albert Zasadil & Erin Kathleen Zasadil
                                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                                     HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                        ORCOMMUNITY




                                                                                                                                                                                                                                                    CONTINGENT
                                                                                                                                                          CODEBTOR
                                                                                                                     CREDITOR’S NAME,
                                                                                                                                                                                                      DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                                 DISPUTED
                                                                                                                      MAILING ADDRESS                                                                                                                                                              AMOUNT
                                                                                                                                                                                                        CONSIDERATION FOR CLAIM.                                                                     OF
                                                                                                                    INCLUDING ZIP CODE,
                                                                                                                                                                                                      IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
                                                                                                                   AND ACCOUNT NUMBER
                                                                                                                     (See instructions above.)


                                                                                                          ACCOUNT NO.                                                                        Collecting for Lake Forest Hospital
                                                                                                          CBCS 21
                                                                                                          P.O. Box 2334                                                H                                                                                                                        Notice Only
                                                                                                          Columbus, OH 43216-21334
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                                                                                                          ACCOUNT NO.      7869                                                              Account purchased from Drexler Family
                                                                                                          Certified Services                                                                 Practice
                                                                                                          1733 Washington St. Ste. 201                                                                                                                                          X                         44.00
                                                                                                          Waukegan, IL 60085


                                                                                                          ACCOUNT NO.      1110                                                              Consideration: Account Purchased from
                                                                                                          Certified Services                                                                 Anestesia Consultants
                                                                                                          1733 Washington St. Ste. 201                                 H                                                                                                                                  46.00
                                                                                                          Waukegan, IL 60085


                                                                                                          ACCOUNT NO.      914B                                                              Consideration: Account purchased from
                                                                                                          Certified Services                                                                 Anestesia Consultants
                                                                                                          1733 Washington St. Ste. 201                                                                                                                                                                  388.00
                                                                                                          Waukegan, IL 60085


                                                                                                           ACCOUNT NO.     9082                                                              Consideration: Credit Cards
                                                                                                          Chase
                                                                                                          Cardmember Service                                           W                                                                                                                               3,413.43
                                                                                                          PO Box 15153
                                                                                                          Wilmington, DE 19886-5153

                                                                                                                     1 of _____continuation
                                                                                                          Sheet no. _____    9                sheets attached                                                                                     Subtotal                                  $          3,891.43
                                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                                          Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                       Case 10-49937               Doc 1                      Filed 11/08/10 Entered 11/08/10 14:37:36                                                              Desc Main
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                                                                                                                    John Albert Zasadil & Erin Kathleen Zasadil
                                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                                     HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                        ORCOMMUNITY




                                                                                                                                                                                                                                                    CONTINGENT
                                                                                                                                                          CODEBTOR
                                                                                                                     CREDITOR’S NAME,
                                                                                                                                                                                                      DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                                 DISPUTED
                                                                                                                      MAILING ADDRESS                                                                                                                                                              AMOUNT
                                                                                                                                                                                                        CONSIDERATION FOR CLAIM.                                                                     OF
                                                                                                                    INCLUDING ZIP CODE,
                                                                                                                                                                                                      IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
                                                                                                                   AND ACCOUNT NUMBER
                                                                                                                     (See instructions above.)


                                                                                                          ACCOUNT NO.                                                                        Collecting for Chase
                                                                                                          Chase Receivables
                                                                                                          1247 Broadway                                                                                                                                                                         Notice Only
                                                                                                          Sonoma, CA 95476
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                                                                                                          ACCOUNT NO.      8027                                                              Consideration: Credit Cards
                                                                                                          Credit One
                                                                                                          P.O. Box 98873                                               H                                                                                                                               1,117.00
                                                                                                          Las Vegas, NV 89193


                                                                                                          ACCOUNT NO.      1821                                                              Consideration: Account purchased from
                                                                                                          FFCC-Columbus, Inc.                                                                Health
                                                                                                          P.O. Box 20790                                                                                                                                                                                105.00
                                                                                                          Columbus, OH 43220


                                                                                                          ACCOUNT NO.      1787                                                              Consideration: Account purchased from
                                                                                                          FFCC-Columbus, Inc.                                                                In Sleep Medicine
                                                                                                          P.O. Box 20790                                                                                                                                                                                  35.00
                                                                                                          Columbus, OH 43220


                                                                                                           ACCOUNT NO.                                                                       Collecing for HSBC
                                                                                                          Financial Recovery Services, Inc.
                                                                                                          P.O. Box 385908                                                                                                                                                                       Notice Only
                                                                                                          Minneapolis, MN 55438-5908



                                                                                                                     2 of _____continuation
                                                                                                          Sheet no. _____    9                sheets attached                                                                                     Subtotal                                  $          1,257.00
                                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                                          Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                       Case 10-49937               Doc 1                      Filed 11/08/10 Entered 11/08/10 14:37:36                                                              Desc Main
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                                                                                                                    John Albert Zasadil & Erin Kathleen Zasadil
                                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                                     HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                        ORCOMMUNITY




                                                                                                                                                                                                                                                    CONTINGENT
                                                                                                                                                          CODEBTOR
                                                                                                                     CREDITOR’S NAME,
                                                                                                                                                                                                      DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                                 DISPUTED
                                                                                                                      MAILING ADDRESS                                                                                                                                                              AMOUNT
                                                                                                                                                                                                        CONSIDERATION FOR CLAIM.                                                                     OF
                                                                                                                    INCLUDING ZIP CODE,
                                                                                                                                                                                                      IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
                                                                                                                   AND ACCOUNT NUMBER
                                                                                                                     (See instructions above.)


                                                                                                          ACCOUNT NO.      6354                                                              Consideration: Credit card debt
                                                                                                          Fingerhut
                                                                                                          6250 Ridgewood Rd.                                           H                                                                                                                                936.50
                                                                                                          St. Cloud, MN 56303
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                                                                                                          ACCOUNT NO.      1047                                                              Consideration: Credit Cards
                                                                                                          First Premier Bank
                                                                                                          P.O. Box 5524                                                H                                                                                                                                554.00
                                                                                                          Sioux Falls, SD 57117


                                                                                                          ACCOUNT NO.                                                                        Collecting for Home Depot/Citi
                                                                                                          Freedman Anselmo Lindberg, LLC
                                                                                                          1807 W. Diehl Rd. Ste. 3228                                                                                                                                                           Notice Only
                                                                                                          Naperville, IL 60566-7228


                                                                                                          ACCOUNT NO.      7278                                                              Consideration: Credit Cards
                                                                                                          Great Lake Credit Union
                                                                                                          Greenbay Rd                                                  J                                                                                                                               9,328.00
                                                                                                          North Chicago, IL 60064


                                                                                                           ACCOUNT NO.                                                                       Consideration: Credit card debt
                                                                                                          Home Depot
                                                                                                          Processing Center                                            W                                                                                                                               8,057.00
                                                                                                          Des Moines, IA 50364-0000



                                                                                                                     3 of _____continuation
                                                                                                          Sheet no. _____    9                sheets attached                                                                                     Subtotal                                  $         18,875.50
                                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                                          Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                       Case 10-49937               Doc 1                      Filed 11/08/10 Entered 11/08/10 14:37:36                                                              Desc Main
                                                                                                                                                                               Document     Page 22 of 62
                                                                                                          B6F (Official Form 6F) (12/07) - Cont.


                                                                                                                    John Albert Zasadil & Erin Kathleen Zasadil
                                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                                     HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                        ORCOMMUNITY




                                                                                                                                                                                                                                                    CONTINGENT
                                                                                                                                                          CODEBTOR
                                                                                                                     CREDITOR’S NAME,
                                                                                                                                                                                                      DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                                 DISPUTED
                                                                                                                      MAILING ADDRESS                                                                                                                                                           AMOUNT
                                                                                                                                                                                                        CONSIDERATION FOR CLAIM.                                                                  OF
                                                                                                                    INCLUDING ZIP CODE,
                                                                                                                                                                                                      IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                                   AND ACCOUNT NUMBER
                                                                                                                     (See instructions above.)


                                                                                                          ACCOUNT NO.      9610                                                              Consideration: Credit Cards
                                                                                                          HSBC Card Services                                                                 Old Orchard Gold Mastercard
                                                                                                          P.O. Box 17051                                               W                                                                                                                            598.68
                                                                                                          Baltimore, MD 21297-1051
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                                                                                                          ACCOUNT NO.      6541                                                              Consideration: Medical services
                                                                                                          IL Bone and Joint Institute
                                                                                                          5057 Paysphere Circle                                        H                                                                                                                             40.00
                                                                                                          Chicago, IL 60674-0001


                                                                                                          ACCOUNT NO.      04B2                                                              Consideration: Credit Cards
                                                                                                          K. Jordan
                                                                                                          P.O. Box 8945                                                W                                                                                                                            216.84
                                                                                                          Madison, WI 53708


                                                                                                          ACCOUNT NO.      7278                                                              Collecting For Great Lake Credit Union
                                                                                                          Keynote Consulting
                                                                                                          220 W. Campus Dr.                                            J                                                                                                                              0.00
                                                                                                          Ste. 102
                                                                                                          Arlington Heights, Il 60004

                                                                                                           ACCOUNT NO.     7278                                                              Consideration: Account purchased from
                                                                                                          Keynote Consulting                                                                 Great Lakes Credit Union
                                                                                                          220 W. Campus Dr. Ste. 102                                                                                                                                                              9,328.00
                                                                                                          Arlington Heights, IL 60004



                                                                                                                     4 of _____continuation
                                                                                                          Sheet no. _____    9                sheets attached                                                                                     Subtotal                                  $    10,183.52
                                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                                          Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                       Case 10-49937               Doc 1                      Filed 11/08/10 Entered 11/08/10 14:37:36                                                              Desc Main
                                                                                                                                                                               Document     Page 23 of 62
                                                                                                          B6F (Official Form 6F) (12/07) - Cont.


                                                                                                                    John Albert Zasadil & Erin Kathleen Zasadil
                                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                                     HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                        ORCOMMUNITY




                                                                                                                                                                                                                                                    CONTINGENT
                                                                                                                                                          CODEBTOR
                                                                                                                     CREDITOR’S NAME,
                                                                                                                                                                                                      DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                                 DISPUTED
                                                                                                                      MAILING ADDRESS                                                                                                                                                              AMOUNT
                                                                                                                                                                                                        CONSIDERATION FOR CLAIM.                                                                     OF
                                                                                                                    INCLUDING ZIP CODE,
                                                                                                                                                                                                      IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
                                                                                                                   AND ACCOUNT NUMBER
                                                                                                                     (See instructions above.)


                                                                                                          ACCOUNT NO.      9779                                                              Consideration: Account purchased from
                                                                                                          Keyston Consulting                                                                 Arne Scott DDS
                                                                                                          220 W. Campus Dr. Ste. 102                                                                                                                                                                    167.00
                                                                                                          Arlington Heights, IL 60004
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                                                                                                          ACCOUNT NO.                                                                        Consideration: Medical Bills
                                                                                                          Lake Forest Hospital
                                                                                                          400 Deerpath                                                 H                                                                                                                                225.00
                                                                                                          Lake Forest, IL 60047


                                                                                                          ACCOUNT NO.      6354                                                              Collecting For Fingerhut
                                                                                                          Mcm
                                                                                                          Po Box 60578                                                 H                                                                                                                                      0.00
                                                                                                          Los Angeles, CA 90060


                                                                                                          ACCOUNT NO.      5155                                                              Consideration: Medical Bills
                                                                                                          Medical Eye Services
                                                                                                          48 S. Greenleaf                                              H                                                                                                                                115.00
                                                                                                          Gurnee, IL 60031


                                                                                                           ACCOUNT NO.

                                                                                                          Midland Credit Management
                                                                                                          P.O. Box 60578                                                                                                                                                                        Notice Only
                                                                                                          Los Angeles, CA 90060-0578



                                                                                                                     5 of _____continuation
                                                                                                          Sheet no. _____    9                sheets attached                                                                                     Subtotal                                  $           507.00
                                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                                          Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                       Case 10-49937               Doc 1                      Filed 11/08/10 Entered 11/08/10 14:37:36                                                              Desc Main
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                                                                                                          B6F (Official Form 6F) (12/07) - Cont.


                                                                                                                    John Albert Zasadil & Erin Kathleen Zasadil
                                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                                     HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                        ORCOMMUNITY




                                                                                                                                                                                                                                                    CONTINGENT
                                                                                                                                                          CODEBTOR
                                                                                                                     CREDITOR’S NAME,
                                                                                                                                                                                                      DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                                 DISPUTED
                                                                                                                      MAILING ADDRESS                                                                                                                                                              AMOUNT
                                                                                                                                                                                                        CONSIDERATION FOR CLAIM.                                                                     OF
                                                                                                                    INCLUDING ZIP CODE,
                                                                                                                                                                                                      IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
                                                                                                                   AND ACCOUNT NUMBER
                                                                                                                     (See instructions above.)


                                                                                                          ACCOUNT NO.      8405                                                              Consideration: Account purchased fromm
                                                                                                          National Credit Solutions                                                          BMG
                                                                                                          P.O. Box 15779                                                                                                                                                                                153.00
                                                                                                          Oklahoma City, OK 73155
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                                                                                                          ACCOUNT NO.      4074                                                              Consideration: Account purchased from
                                                                                                          National Recovery Agency                                                           Medical Resources Inc.
                                                                                                          2491 Paxon St.                                                                                                                                                                                  48.00
                                                                                                          Harrisburg, PA 17111


                                                                                                          ACCOUNT NO.                                                                        Collecting for Credit One
                                                                                                          NCO Financial System
                                                                                                          Payment Services                                                                                                                                                                      Notice Only
                                                                                                          P.O. Box 60500
                                                                                                          City of Industry, CA 91716-0500

                                                                                                          ACCOUNT NO.      8AAJ                                                              Consideration: Medical Bills
                                                                                                          Northshore Lab Service
                                                                                                          9851 Eagle Way                                               W                                                                                                                                  32.00
                                                                                                          Chicago, IL 60678


                                                                                                           ACCOUNT NO.     8AAJ                                                              Incurred: 8/29/09
                                                                                                          NorthShore University Health                                                       Consideration: Medical services
                                                                                                          System                                                       W                                                                                                                                  31.79
                                                                                                          9851 Eagle Way
                                                                                                          Chicago, IL 60678-0001

                                                                                                                     6 of _____continuation
                                                                                                          Sheet no. _____    9                sheets attached                                                                                     Subtotal                                  $           264.79
                                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                                          Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                       Case 10-49937               Doc 1                      Filed 11/08/10 Entered 11/08/10 14:37:36                                                              Desc Main
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                                                                                                                    John Albert Zasadil & Erin Kathleen Zasadil
                                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                                     HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                        ORCOMMUNITY




                                                                                                                                                                                                                                                    CONTINGENT
                                                                                                                                                          CODEBTOR
                                                                                                                     CREDITOR’S NAME,
                                                                                                                                                                                                      DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                                 DISPUTED
                                                                                                                      MAILING ADDRESS                                                                                                                                                              AMOUNT
                                                                                                                                                                                                        CONSIDERATION FOR CLAIM.                                                                     OF
                                                                                                                    INCLUDING ZIP CODE,
                                                                                                                                                                                                      IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
                                                                                                                   AND ACCOUNT NUMBER
                                                                                                                     (See instructions above.)


                                                                                                          ACCOUNT NO.      8AAG                                                              Consideration: Medical services
                                                                                                          Northshore University Healthsystem
                                                                                                          9851 Eagle Way                                               W                                                                                                                                  10.96
                                                                                                          Chicago, IL 60678-0001
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                                                                                                          ACCOUNT NO.      1259                                                              Consideration: Credit card debt
                                                                                                          Nuvell Credit Company
                                                                                                          P.O. Box 9001952                                             H                                                                                                                                659.99
                                                                                                          Louisville, KY 40290-1952


                                                                                                          ACCOUNT NO.      7340                                                              Consideration: Account purchased by
                                                                                                          Penn Credit Corporation                                                            Direct Brands Inc.
                                                                                                          916 S. 14th St.                                                                                                                                                                                 79.00
                                                                                                          Harrisburg, PA 17104


                                                                                                          ACCOUNT NO.      6975                                                              Consideration: Medical services
                                                                                                          Physiotherapy Associates
                                                                                                          P.O.Box 3379                                                 W                                                                                                                                203.00
                                                                                                          Montgomery, AL 36109-0379


                                                                                                           ACCOUNT NO.                                                                       Collecting for Northshore University
                                                                                                          Pinnacle Management Services                                                       Healthsystem
                                                                                                          514 Market Loop, Ste. 103                                                                                                                                                             Notice Only
                                                                                                          West Dundee, IL 60118



                                                                                                                     7 of _____continuation
                                                                                                          Sheet no. _____    9                sheets attached                                                                                     Subtotal                                  $           952.95
                                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                                          Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
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                                                                                                                    John Albert Zasadil & Erin Kathleen Zasadil
                                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                                     HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                        ORCOMMUNITY




                                                                                                                                                                                                                                                    CONTINGENT
                                                                                                                                                          CODEBTOR
                                                                                                                     CREDITOR’S NAME,
                                                                                                                                                                                                      DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                                 DISPUTED
                                                                                                                      MAILING ADDRESS                                                                                                                                                              AMOUNT
                                                                                                                                                                                                        CONSIDERATION FOR CLAIM.                                                                     OF
                                                                                                                    INCLUDING ZIP CODE,
                                                                                                                                                                                                      IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
                                                                                                                   AND ACCOUNT NUMBER
                                                                                                                     (See instructions above.)


                                                                                                          ACCOUNT NO.      04B2                                                              Collecting For K Jordan
                                                                                                          Professional Recovery Consultants,
                                                                                                          Inc.                                                         W                                                                                                                        Notice Only
                                                                                                          P.O. Box 51187
                                                                                                          Durham, NC 27717-1187
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                                                                                                          ACCOUNT NO.      7R16                                                              Consideration: Account purchsed from
                                                                                                          RJM Acq., LLC                                                                      Homestyle Books
                                                                                                          575 Underhill Blvd. Ste. 224                                                                                                                                                                    76.00
                                                                                                          Syosset, NY11791


                                                                                                          ACCOUNT NO.      49A4                                                              Consideration: Credit card debt
                                                                                                          Shop Now Pay Plan
                                                                                                          P.O. Box 2852                                                                                                                                                                                 152.74
                                                                                                          Monroe, WI 53566-8052


                                                                                                          ACCOUNT NO.                                                                        Attorneys for Bank of America
                                                                                                          The Wirbicki Law Group
                                                                                                          33 W. Monroe St. Ste. 1140                                                                                                                                                            Notice Only
                                                                                                          Chicago, IL 60603


                                                                                                           ACCOUNT NO.     2251                                                              Consideration: Credit card debt
                                                                                                          Through the Country Door
                                                                                                          1112 7th Ave.                                                                                                                                                                                   74.00
                                                                                                          Monroe, WI 53566



                                                                                                                     8 of _____continuation
                                                                                                          Sheet no. _____    9                sheets attached                                                                                     Subtotal                                  $           302.74
                                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                                          Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
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                                                                                                                    John Albert Zasadil & Erin Kathleen Zasadil
                                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                                     HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                        ORCOMMUNITY




                                                                                                                                                                                                                                                    CONTINGENT
                                                                                                                                                          CODEBTOR
                                                                                                                     CREDITOR’S NAME,
                                                                                                                                                                                                      DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                                 DISPUTED
                                                                                                                      MAILING ADDRESS                                                                                                                                                              AMOUNT
                                                                                                                                                                                                        CONSIDERATION FOR CLAIM.                                                                     OF
                                                                                                                    INCLUDING ZIP CODE,
                                                                                                                                                                                                      IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
                                                                                                                   AND ACCOUNT NUMBER
                                                                                                                     (See instructions above.)


                                                                                                          ACCOUNT NO.                                                                        Collecting for Northshore Laboratory
                                                                                                          Transworld Systems Inc.                                                            Services
                                                                                                          1375 E. Woodfield Rd. #110                                   W                                                                                                                        Notice Only
                                                                                                          Schaumburg, IL 60173
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                                                                                                          ACCOUNT NO.      2583                                                              Consideration: Credit card debt
                                                                                                          WFNNB-King Size
                                                                                                          P.O. Box 659728                                              W                                                                                                                                597.22
                                                                                                          San Antonio, TX 78265-9728


                                                                                                          ACCOUNT NO.      -343                                                              Consideration: Credit card debt
                                                                                                          WFNNB-Roaman's
                                                                                                          P.O. Box 659728                                              W                                                                                                                                982.28
                                                                                                          San Antonio, TX 78265-9728


                                                                                                          ACCOUNT NO.      6364                                                              Consideration: Credit Cards
                                                                                                          Woman Within
                                                                                                          1247 Broadway                                                W                                                                                                                                458.00
                                                                                                          Sonoma, CA 95476


                                                                                                           ACCOUNT NO.     -343                                                              Collecting For Roamans
                                                                                                          World Financial Network
                                                                                                          P.O. Box 182124                                              W                                                                                                                        Notice Only
                                                                                                          Columbus, oh 43218



                                                                                                                     9 of _____continuation
                                                                                                          Sheet no. _____    9                sheets attached                                                                                     Subtotal                                  $          2,037.50
                                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                                          Nonpriority Claims                                                                                                                          Total                                 $         38,567.43
                                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                         Case 10-49937             Doc 1        Filed 11/08/10 Entered 11/08/10 14:37:36                               Desc Main
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                                                                                                          In re
                                                                                                                  John Albert Zasadil & Erin Kathleen Zasadil                                Case No.
                                                                                                                                    Debtor                                                                               (if known)

                                                                                                                  SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                                                                      Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
                                                                                                            State nature of debtor’s interest in contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the
                                                                                                            names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or
                                                                                                            contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe,
                                                                                                            guardian." Do not disclose the child’s name. See 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).

                                                                                                                  Check this box if debtor has no executory contracts or unexpired leases.


                                                                                                                                                                                             DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
                                                                                                                  NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                                DEBTOR’S INTEREST. STATE WHETHER LEASE IS FOR
                                                                                                                     OF OTHER PARTIES TO LEASE OR CONTRACT.                                   NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                                                                                                                                  NUMBER OF ANY GOVERNMENT CONTRACT.
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                                                                                                                       Case 10-49937              Doc 1        Filed 11/08/10 Entered 11/08/10 14:37:36                             Desc Main
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                                                                                                          In re   John Albert Zasadil & Erin Kathleen Zasadil                               Case No.
                                                                                                                                   Debtor                                                                              (if known)


                                                                                                                                                      SCHEDULE H - CODEBTORS
                                                                                                              Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any
                                                                                                          debts listed by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community
                                                                                                          property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico,
                                                                                                          Texas, Washington, or Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the
                                                                                                          name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state,
                                                                                                          commonwealth, or territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the
                                                                                                          commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and address of the child's
                                                                                                          parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and
                                                                                                          Fed. Bankr. P. 1007(m).
                                                                                                              Check this box if debtor has no codebtors.



                                                                                                                        NAME AND ADDRESS OF CODEBTOR                                                   NAME AND ADDRESS OF CREDITOR
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                                                                                                                          Case 10-49937          Doc 1       Filed 11/08/10 Entered 11/08/10 14:37:36                            Desc Main
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                                                                                                          In re
                                                                                                                       John Albert Zasadil & Erin Kathleen Zasadil
                                                                                                                                                                                                      Case
                                                                                                                                 Debtor                                                                                  (if known)
                                                                                                                                 SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                                                                                          The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
                                                                                                          filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
                                                                                                          calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.

                                                                                                           Debtor’s Marital                                                   DEPENDENTS OF DEBTOR AND SPOUSE
                                                                                                           Status:   Married               RELATIONSHIP(S):       Daughter                                                   AGE(S): 2
                                                                                                           Employment:                             DEBTOR                                                                 SPOUSE
                                                                                                           Occupation                        Director Of Dining Services                            Unemployed
                                                                                                           Name of Employer                  Brookdale Senior Living
                                                                                                           How long employed                 1 yrs, 4 mos                                           0 yrs, 0 mos
                                                                                                           Address of Employer               6737 W. Washington Ste 2300
                                                                                                                                             Milwaukee, WI 53214

                                                                                                          INCOME: (Estimate of average or projected monthly income at time case filed)                                  DEBTOR                  SPOUSE
                                                                                                          1. Monthly gross wages, salary, and commissions
                                                                                                                                                                                                                           4,999.99
                                                                                                                                                                                                                     $ _____________                 0.00
                                                                                                                                                                                                                                            $ _____________
                                                                                                                (Prorate if not paid monthly.)
                                                                                                          2. Estimated monthly overtime                                                                                        0.00
                                                                                                                                                                                                                     $ _____________                 0.00
                                                                                                                                                                                                                                            $ _____________
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                                                                                                          3. SUBTOTAL                                                                                                       4,999.99
                                                                                                                                                                                                                      $ _____________                 0.00
                                                                                                                                                                                                                                             $ _____________
                                                                                                          4. LESS PAYROLL DEDUCTIONS
                                                                                                                                                                                                                             779.48
                                                                                                                                                                                                                      $ _____________                 0.00
                                                                                                                                                                                                                                             $ _____________
                                                                                                                  a.   Payroll taxes and social security                                                                     473.69                   0.00
                                                                                                                                                                                                                      $ _____________        $ _____________
                                                                                                                  b.   Insurance
                                                                                                                  c.   Union Dues                                                                                              0.00
                                                                                                                                                                                                                      $ _____________                 0.00
                                                                                                                                                                                                                                             $ _____________
                                                                                                                  d.                    (D)401(k)
                                                                                                                       Other (Specify:___________________________________________________________)                            99.99
                                                                                                                                                                                                                      $ _____________                 0.00
                                                                                                                                                                                                                                             $ _____________

                                                                                                          5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                1,353.16
                                                                                                                                                                                                                      $ _____________                 0.00
                                                                                                                                                                                                                                             $ _____________

                                                                                                          6.. TOTAL NET MONTHLY TAKE HOME PAY                                                                              3,646.83
                                                                                                                                                                                                                      $ _____________                 0.00
                                                                                                                                                                                                                                             $ _____________

                                                                                                          7. Regular income from operation of business or profession or farm                                                   0.00
                                                                                                                                                                                                                      $ _____________                 0.00
                                                                                                                                                                                                                                             $ _____________
                                                                                                             (Attach detailed statement)
                                                                                                          8. Income from real property                                                                                         0.00
                                                                                                                                                                                                                      $ _____________                 0.00
                                                                                                                                                                                                                                             $ _____________
                                                                                                          9. Interest and dividends                                                                                            0.00
                                                                                                                                                                                                                      $ _____________                 0.00
                                                                                                                                                                                                                                             $ _____________
                                                                                                          10. Alimony, maintenance or support payments payable to the debtor for the
                                                                                                                                                                                                                               0.00
                                                                                                                                                                                                                      $ _____________                 0.00
                                                                                                                                                                                                                                             $ _____________
                                                                                                             debtor’s use or that of dependents listed above.
                                                                                                          11. Social security or other government assistance
                                                                                                                                                                                                                               0.00
                                                                                                                                                                                                                      $ _____________                 0.00
                                                                                                                                                                                                                                             $ _____________
                                                                                                             ( Specify)
                                                                                                          12. Pension or retirement income                                                                                     0.00
                                                                                                                                                                                                                      $ _____________                 0.00
                                                                                                                                                                                                                                             $ _____________
                                                                                                          13. Other monthly income                                                                                             0.00
                                                                                                                                                                                                                      $ _____________                 0.00
                                                                                                                                                                                                                                             $ _____________
                                                                                                              (Specify)                                                                                                        0.00
                                                                                                                                                                                                                      $ _____________                 0.00
                                                                                                                                                                                                                                             $ _____________
                                                                                                          14. SUBTOTAL OF LINES 7 THROUGH 13                                                                                   0.00
                                                                                                                                                                                                                      $ _____________                 0.00
                                                                                                                                                                                                                                             $ _____________
                                                                                                          15. AVERAGE MONTHLY INCOME (Add amounts shown on Lines 6 and 14)                                                 3,646.83
                                                                                                                                                                                                                      $ _____________                 0.00
                                                                                                                                                                                                                                             $ _____________

                                                                                                          16. COMBINED AVERAGE MONTHLY INCOME (Combine column totals                                                                    3,646.83
                                                                                                                                                                                                                                  $ _____________
                                                                                                              from line 15)
                                                                                                                                                                                                 (Report also on Summary of Schedules and, if applicable,
                                                                                                                                                                                                 on Statistical Summary of Certain Liabilities and Related Data)

                                                                                                          17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
                                                                                                                   None
                                                                                                                        Case
                                                                                                             B6J (Official      10-49937
                                                                                                                           Form 6J) (12/07)         Doc 1        Filed 11/08/10 Entered 11/08/10 14:37:36                            Desc Main
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                                                                                                           In re   John Albert Zasadil & Erin Kathleen Zasadil                                        Case No.
                                                                                                                                    Debtor                                                                              (if known)

                                                                                                                     SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                                                                                                       Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor’s family at time case
                                                                                                            filed. Prorate any payments made biweekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses
                                                                                                            calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

                                                                                                                   Check this box if a joint petition is filed and debtor’s spouse maintains a separate household. Complete a separate schedule of expenditures
                                                                                                                   labeled “Spouse.”


                                                                                                          1. Rent or home mortgage payment (include lot rented for mobile home)                                                                         798.14
                                                                                                                                                                                                                                               $ _____________
                                                                                                                     a. Are real estate taxes included?                 Yes ________ No ________
                                                                                                                     b. Is property insurance included?                 Yes ________ No ________
                                                                                                          2. Utilities: a. Electricity and heating fuel                                                                                                 300.00
                                                                                                                                                                                                                                               $ ______________
                                                                                                                         b. Water and sewer                                                                                                              45.00
                                                                                                                                                                                                                                               $ ______________
                                                                                                                         c. Telephone                                                                                                                   100.00
                                                                                                                                                                                                                                               $ ______________
                                                                                                                                   Garbage/Internet/TV
                                                                                                                         d. Other ___________________________________________________________________                                                   200.00
                                                                                                                                                                                                                                               $ ______________
                                                                                                          3. Home maintenance (repairs and upkeep)                                                                                                      100.00
                                                                                                                                                                                                                                               $ ______________
                                                                                                          4. Food                                                                                                                                       630.00
                                                                                                                                                                                                                                               $ ______________
                                                                                                          5. Clothing                                                                                                                                    65.00
                                                                                                                                                                                                                                               $ ______________
                                                                                                          6. Laundry and dry cleaning                                                                                                                    50.00
                                                                                                                                                                                                                                               $ ______________
                                                                                                          7. Medical and dental expenses                                                                                                                 60.00
                                                                                                                                                                                                                                               $ ______________
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                                                                                                          8. Transportation (not including car payments)                                                                                                460.00
                                                                                                                                                                                                                                               $ ______________
                                                                                                          9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                            50.00
                                                                                                                                                                                                                                               $ ______________
                                                                                                          10.Charitable contributions                                                                                                                     0.00
                                                                                                                                                                                                                                               $ ______________
                                                                                                          11.Insurance (not deducted from wages or included in home mortgage payments)
                                                                                                                     a. Homeowner’s or renter’s                                                                                                           0.00
                                                                                                                                                                                                                                               $ ______________
                                                                                                                     b. Life                                                                                                                              0.00
                                                                                                                                                                                                                                               $ ______________
                                                                                                                     c. Health                                                                                                                            0.00
                                                                                                                                                                                                                                               $ ______________
                                                                                                                     d.Auto                                                                                                                             115.00
                                                                                                                                                                                                                                               $ ______________
                                                                                                                     e. Other                                                                                                                             0.00
                                                                                                                                                                                                                                               $ ______________
                                                                                                          12.Taxes (not deducted from wages or included in home mortgage payments)
                                                                                                          (Specify)                                                                                                                                       0.00
                                                                                                                                                                                                                                               $ ______________
                                                                                                          13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
                                                                                                                     a. Auto                                                                                                                              0.00
                                                                                                                                                                                                                                               $______________
                                                                                                                     b. Other                                                                                                                             0.00
                                                                                                                                                                                                                                               $ ______________
                                                                                                                     c. Other                                                                                                                             0.00
                                                                                                                                                                                                                                               $ ______________
                                                                                                          14. Alimony, maintenance, and support paid to others                                                                                            0.00
                                                                                                                                                                                                                                               $ ______________
                                                                                                          15. Payments for support of additional dependents not living at your home                                                                       0.00
                                                                                                                                                                                                                                               $ ______________
                                                                                                          16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                                                0.00
                                                                                                                                                                                                                                               $ ______________
                                                                                                          17. Other                Diapers/Personal grooming/Dog food                                                                                   190.00
                                                                                                                                                                                                                                               $______________
                                                                                                          18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                                                    3,163.14
                                                                                                                                                                                                                                               $______________
                                                                                                          if applicable, on the Statistical Summary of Certain Liabilities and Related Data)
                                                                                                          19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document:
                                                                                                                    None


                                                                                                          20. STATEMENT OF MONTHLY NET INCOME
                                                                                                                  a. Average monthly income from Line 15 of Schedule I                                                                              3,646.83
                                                                                                                                                                                                                                             $ ______________
                                                                                                                  b. Average monthly expenses from Line 18 above                                                                                    3,163.14
                                                                                                                                                                                                                                             $ ______________
                                                                                                                  c. Monthly net income (a. minus b.)                                                                                                 483.69
                                                                                                                                                                                                                                             $ ______________
                                                                                                                       Case 10-49937                 Doc 1     Filed 11/08/10 Entered 11/08/10 14:37:36                         Desc Main
                                                                                                                                                                Document     Page 32 of 62
                                                                                                                B6 Summary (Official Form 6 - Summary) (12/07)




                                                                                                                                                      United States Bankruptcy Court
                                                                                                                                                                Northern District of Illinois
                                                                                                                            John Albert Zasadil & Erin Kathleen Zasadil
                                                                                                               In re                                                                                        Case No.
                                                                                                                                                                Debtor
                                                                                                                                                                                                            Chapter        13

                                                                                                                                                               SUMMARY OF SCHEDULES
                                                                                                          Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F,
                                                                                                          I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all
                                                                                                          claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must also complete the “Statistical
                                                                                                          Summary of Certain Liabilities and Related Data” if they file a case under chapter 7, 11, or 13.
                                                                                                                                                                     AMOUNTS SCHEDULED
                                                                                                                                                         ATTACHED
                                                                                                            NAME OF SCHEDULE                              (YES/NO)       NO. OF SHEETS             ASSETS               LIABILITIES            OTHER
                                                                                                            A – Real Property
                                                                                                                                                         YES                     1            $   145,000.00
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                                                                                                            B – Personal Property
                                                                                                                                                         YES                     3            $     18,632.24

                                                                                                            C – Property Claimed
                                                                                                                as exempt                                YES                     1

                                                                                                            D – Creditors Holding
                                                                                                               Secured Claims                            YES                     1                                  $     115,127.95

                                                                                                            E - Creditors Holding Unsecured
                                                                                                                Priority Claims                          YES                     3                                  $         970.00
                                                                                                               (Total of Claims on Schedule E)
                                                                                                            F - Creditors Holding Unsecured
                                                                                                                Nonpriority Claims                       YES                     10                                 $      38,567.43

                                                                                                            G - Executory Contracts and
                                                                                                                Unexpired Leases                         YES                     1

                                                                                                            H - Codebtors
                                                                                                                                                         YES                     1

                                                                                                            I - Current Income of
                                                                                                                Individual Debtor(s)                     YES                     1                                                        $     3,646.83

                                                                                                            J - Current Expenditures of Individual
                                                                                                                Debtors(s)                               YES                     1                                                        $     3,163.14

                                                                                                                                                 TOTAL                           23           $   163,632.24        $     154,665.38
                                                                                                            Official Form10-49937
                                                                                                                  Case    6 - Statistical Summary
                                                                                                                                          Doc 1 (12/07)
                                                                                                                                                  Filed 11/08/10                        Entered 11/08/10 14:37:36            Desc Main
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                                                                                                                                                United States Bankruptcy Court
                                                                                                                                                                  Northern District of Illinois

                                                                                                                       In re       John Albert Zasadil & Erin Kathleen Zasadil                             Case No.
                                                                                                                                                                 Debtor
                                                                                                                                                                                                           Chapter      13
                                                                                                          STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)

                                                                                                               If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
                                                                                                          §101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

                                                                                                                Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
                                                                                                          information here.

                                                                                                          This information is for statistical purposes only under 28 U.S.C. § 159.

                                                                                                          Summarize the following types of liabilities, as reported in the Schedules, and total them.


                                                                                                             Type of Liability                                                           Amount

                                                                                                             Domestic Support Obligations (from Schedule E)                             $
                                                                                                                                                                                                    0.00
                                                                                                             Taxes and Certain Other Debts Owed to Governmental Units (from             $
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                                                                                                             Schedule E)
                                                                                                                                                                                                  970.00
                                                                                                             Claims for Death or Personal Injury While Debtor Was Intoxicated (from     $
                                                                                                             Schedule E) (whether disputed or undisputed)                                           0.00
                                                                                                             Student Loan Obligations (from Schedule F)                                 $           0.00
                                                                                                             Domestic Support, Separation Agreement, and Divorce Decree                 $
                                                                                                             Obligations Not Reported on Schedule E                                                 0.00
                                                                                                             Obligations to Pension or Profit-Sharing, and Other Similar Obligations
                                                                                                             (from Schedule F)
                                                                                                                                                                                        $           0.00

                                                                                                                                                                              TOTAL     $         970.00


                                                                                                            State the Following:
                                                                                                             Average Income (from Schedule I, Line 16)                                  $     3,646.83
                                                                                                             Average Expenses (from Schedule J, Line 18)                                $
                                                                                                                                                                                              3,163.14
                                                                                                             Current Monthly Income (from Form 22A Line 12; OR, Form
                                                                                                             22B Line 11; OR, Form 22C Line 20 )                                        $
                                                                                                                                                                                              5,004.99


                                                                                                            State the Following:
                                                                                                             1. Total from Schedule D, “UNSECURED PORTION, IF
                                                                                                             ANY” column
                                                                                                                                                                                                           $          0.00

                                                                                                             2. Total from Schedule E, “AMOUNT ENTITLED TO
                                                                                                             PRIORITY” column.
                                                                                                                                                                                        $         970.00

                                                                                                             3. Total from Schedule E, “AMOUNT NOT ENTITLED TO
                                                                                                             PRIORITY, IF ANY” column
                                                                                                                                                                                                           $          0.00

                                                                                                             4. Total from Schedule F                                                                      $    38,567.43
                                                                                                             5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                  $    38,567.43
                                                                                                                             Case
                                                                                                                B6 (Official Form 6 - 10-49937        Doc
                                                                                                                                      Declaration) (12/07)                              1        Filed 11/08/10 Entered 11/08/10 14:37:36                                                                 Desc Main
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                                                                                                                          John Albert Zasadil & Erin Kathleen Zasadil
                                                                                                                In re                                                                                                                                        Case No.
                                                                                                                                                       Debtor                                                                                                                                   (If known)

                                                                                                                                                DECLARATION CONCERNING DEBTOR'S SCHEDULES
                                                                                                                                                               DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                                                                                                                                                                                    25 sheets, and that they
                                                                                                                           I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _______
                                                                                                                are true and correct to the best of my knowledge, information, and belief.



                                                                                                                 Date       November 8, 2010                                                                                          Signature:          /s/ John Albert Zasadil
                                                                                                                                                                                                                                                                                         Debtor:


                                                                                                                 Date       November 8, 2010                                                                                          Signature:          /s/ Erin Kathleen Zasadil
                                                                                                                                                                                                                                                                                (Joint Debtor, if any)

                                                                                                                                                                                                                                             [If joint case, both spouses must sign.]
                                                                                                             -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
                                                                                                                                         DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

                                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                                           compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                                           110(h) and 342(b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110 setting a maximum fee for services chargeable
                                                                                                           by bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or
                                                                                                           accepting any fee from the debtor, as required by that section.
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                                                                                                           Printed or Typed Name and Title, if any,                                                                                             Social Security No.
                                                                                                           of Bankruptcy Petition Preparer                                                                                                 (Required by 11 U.S.C. § 110.)

                                                                                                            If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or partner
                                                                                                            who signs this document.




                                                                                                            Address

                                                                                                            X
                                                                                                                                 Signature of Bankruptcy Petition Preparer                                                                                                      Date

                                                                                                          Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer is not an individual:



                                                                                                          If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


                                                                                                          A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both. 11 U.S.C. § 110;
                                                                                                          18 U.S.C. § 156.
                                                                                                          -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------


                                                                                                                               DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP


                                                                                                                I, the __________________________________ [the president or other officer or an authorized agent of the corporation or a member
                                                                                                          or an authorized agent of the partnership ] of the ___________________________________ [corporation or partnership] named as debtor
                                                                                                          in this case, declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _______sheets (total
                                                                                                          shown on summary page plus 1),and that they are true and correct to the best of my knowledge, information, and belief.


                                                                                                          Date                                                                                                                 Signature:


                                                                                                                                                                                                                                                [Print or type name of individual signing on behalf of debtor.]
                                                                                                                                           [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
                                                                                                           -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
                                                                                                                  Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
                                                                                                                    Case
                                                                                                              B7 (Official    10-49937
                                                                                                                           Form 7) (04/10)       Doc 1 Filed 11/08/10 Entered 11/08/10 14:37:36                                      Desc Main
                                                                                                                                                 UNITED Document       Page 35 of 62 COURT
                                                                                                                                                        STATES BANKRUPTCY
                                                                                                                                                           Northern District of Illinois

                                                                                                          In Re   John Albert Zasadil & Erin Kathleen Zasadil                                                     Case No.
                                                                                                                                                                                                                                   (if known)


                                                                                                                                                       STATEMENT OF FINANCIAL AFFAIRS

                                                                                                                             This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which
                                                                                                                   the information for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish
                                                                                                                   information for both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                                                                                                                   filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or self-employed professional, should
                                                                                                                   provide the information requested on this statement concerning all such activities as well as the individual's personal affairs. To
                                                                                                                   indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the child's parent
                                                                                                                   or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed.
                                                                                                                   R. Bankr. P. 1007(m).

                                                                                                                             Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also
                                                                                                                   must complete Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If
                                                                                                                   additional space is needed for the answer to any question, use and attach a separate sheet properly identified with the case name,
                                                                                                                   case number (if known), and the number of the question.

                                                                                                                                                                               DEFINITIONS

                                                                                                                              "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An
                                                                                                                   individual debtor is "in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding
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                                                                                                                   the filing of this bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5 percent or more of
                                                                                                                   the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or self-
                                                                                                                   employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this form if the debtor engages
                                                                                                                   in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.

                                                                                                                              "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and
                                                                                                                   their relatives; corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5
                                                                                                                   percent or more of the voting or equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of
                                                                                                                   such affiliates; any managing agent of the debtor. 11 U.S.C. § 101.



                                                                                                                             1. Income from employment or operation of business

                                                                                                                             State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of
                                                                                                                             the debtor's business, including part-time activities either as an employee or in independent trade or business, from the
                                                                                                                  None       beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
                                                                                                                             two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on
                                                                                                                             the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
                                                                                                                             of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                                                                                                                             under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
                                                                                                                             spouses are separated and a joint petition is not filed.)

                                                                                                                                     AMOUNT                                                 SOURCE

                                                                                                                      2010(db)      52175.49        Brookdale Senior Living
                                                                                                                      2009(db)      41802.00        Brookdale Senior Living/Lakeside Foods
                                                                                                                      2008(db)      53492.00        Roti


                                                                                                                      2010(jdb)           0.00
                                                                                                                      2009(jdb)           0.00
                                                                                                                      2008(jdb)           0.00
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                                                                                                                     2.   Income other than from employment or operation of business

                                                                                                          None             State the amount of income received by the debtor other than from employment, trade, profession, or operation
                                                                                                                     of the debtor's business during the two years immediately preceding the commencement of this case. Give
                                                                                                                     particulars. If a joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter
                                                                                                                     12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless the spouses are
                                                                                                                     separated and a joint petition is not filed.)

                                                                                                                      AMOUNT                                                                SOURCE

                                                                                                              2010 (db)               0.00
                                                                                                              2009(db)                0.00
                                                                                                              2010(jdb)               0.00
                                                                                                              2009(jdb)               0.00


                                                                                                                     3. Payments to creditors
                                                                                                          None

                                                                                                                     Complete a. or b., as appropriate, and c.
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                                                                                                                     a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of
                                                                                                                     goods or services, and other debts to any creditor made within 90 days immediately preceding the commencement of
                                                                                                                     this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $600.
                                                                                                                     Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation
                                                                                                                     or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and creditor
                                                                                                                     counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
                                                                                                                     spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                          NAME AND ADDRESS OF CREDITOR                                   DATES OF                              AMOUNT               AMOUNT STILL
                                                                                                                                                                         PAYMENTS                                PAID                  OWING




                                                                                                          None       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made
                                                                                                                     within 90 days immediately preceding the commencement of the case unless the aggregate value of all property that
                                                                                                                     constitutes or is affected by such transfer is less than $5,850*. If the debtor is an individual, indicate with an asterisk
                                                                                                                     (*)any payments that were made to a creditor on account of a domestic support obligation or as part of an
                                                                                                                     alternativerepayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency.
                                                                                                                     (Married debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both
                                                                                                                     spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                                                          *Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after date of adjustment.

                                                                                                          NAME AND ADDRESS OF CREDITOR                                   DATES OF                              AMOUNT               AMOUNT STILL
                                                                                                           AND RELATIONSHIP TO DEBTOR                                    PAYMENTS                                PAID                  OWING
                                                                                                             Case 10-49937            Doc 1         Filed 11/08/10 Entered 11/08/10 14:37:36                                  Desc Main
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                                                                                                          None

                                                                                                                 c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or
                                                                                                                 for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must
                                                                                                                 include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                                 and a joint petition is not filed.)


                                                                                                           NAME AND ADDRESS OF CREDITOR                             DATES OF                        AMOUNT PAID             AMOUNT STILL
                                                                                                            AND RELATIONSHIP TO DEBTOR                              PAYMENTS                                                   OWING


                                                                                                                 4. Suits and administrative proceedings, executions, garnishments and attachments

                                                                                                          None   a.    List all suits and administrative proceedings to which the debtor is or was a party within one year immediately
                                                                                                                 preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include
                                                                                                                 information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                                 and a joint petition is not filed.)


                                                                                                           CAPTION OF SUIT               NATURE OF PROCEEDING                            COURT OR                                STATUS OR
                                                                                                          AND CASE NUMBER                                                           AGENCY AND LOCATION                          DISPOSITION

                                                                                                          Bank of American v.         Foreclosure                                     Circuit Court of Lake                  Pending
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                                                                                                          Zadasil                                                                     County
                                                                                                          10 CH 2370                                                                  Chancery Division

                                                                                                          None   b.     Describe all property that has been attached, garnished or seized under any legal or equitable process within
                                                                                                                 one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter
                                                                                                                 13 must include information concerning property of either or both spouses whether or not a joint petition is filed,
                                                                                                                 unless the spouses are separated and a joint petition is not filed.)


                                                                                                             NAME AND ADDRESS OF                                       DATE OF                                        DESCRIPTION AND
                                                                                                           PERSON FOR WHOSE BENEFIT                                    SEIZURE                                       VALUE OF PROPERTY
                                                                                                             PROPERTY WAS SEIZED

                                                                                                          Midland Credit Management                                 11/09-1/10                              Garnishment
                                                                                                          P.O. Box 60578                                                                                    $376 garnished from four
                                                                                                          Los Angeles, CA 90060-0578                                                                        pay checks

                                                                                                                 5.   Repossessions, foreclosures and returns

                                                                                                          None         List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in
                                                                                                                 lieu of foreclosure or returned to the seller, within one year immediately preceding the commencement of this case.
                                                                                                                 (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or
                                                                                                                 both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                              NAME AND                                DATE OF REPOSESSION,                                            DESCRIPTION AND
                                                                                                             ADDRESS OF                                FORECLOSURE SALE,                                             VALUE OF PROPERTY
                                                                                                          CREDITOR OR SELLER                          TRANSFER OR RETURN
                                                                                                             Case 10-49937             Doc 1        Filed 11/08/10 Entered 11/08/10 14:37:36                                 Desc Main
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                                                                                                                  6. Assignments and Receiverships

                                                                                                          None    a.     Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding
                                                                                                                  the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any
                                                                                                                  assignment by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                                                                  joint petition is not filed.)


                                                                                                                  NAME AND                                    DATE OF ASSIGNMENT                                  TERMS OF
                                                                                                                 ADDRESS OF                                                                                      ASSIGNMENT
                                                                                                                   ASSIGNEE                                                                                     OR SETTLEMENT


                                                                                                          None    b.     List all property which has been in the hands of a custodian, receiver, or court-appointed official within one
                                                                                                                  year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
                                                                                                                  must include information concerning property of either or both spouses whether or not a joint petition is filed, unless
                                                                                                                  the spouses are separated and a joint petition is not filed.)


                                                                                                                  NAME AND                          NAME AND LOCATION                            DATE OF                DESCRIPTION AND
                                                                                                                 ADDRESS OF                         OF COURT CASE TITLE                           ORDER                VALUE OF PROPERTY
                                                                                                                 CUSTODIAN                               & NUMBER
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                                                                                                                  7.   Gifts

                                                                                                          None         List all gifts or charitable contributions made within one year immediately preceding the commencement of this
                                                                                                                  case, except ordinary and usual gifts to family members aggregating less than $200 in value per individual family
                                                                                                                  member and charitable contributions aggregating less than $100 per recipient. (Married debtors filing under chapter
                                                                                                                  12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed,
                                                                                                                  unless the spouses are separated and a joint petition is not filed.)


                                                                                                                 NAME AND                            RELATIONSHIP                          DATE OF                  DESCRIPTION AND
                                                                                                                ADDRESS OF                         TO DEBTOR, IF ANY                         GIFT                    VALUE OF GIFT
                                                                                                          PERSON OR ORGANIZATION


                                                                                                                  8.   Losses

                                                                                                          None             List all losses from fire, theft, other casualty or gambling within one year immediately preceding the
                                                                                                                  commencement of this case or since the commencement of this case. (Married debtors filing under chapter 12 or
                                                                                                                  chapter 13 must include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are
                                                                                                                  separated and a joint petition is not filed.)


                                                                                                             DESCRIPTION                            DESCRIPTION OF CIRCUMSTANCES, AND, IF LOSS                                DATE OF
                                                                                                              AND VALUE                                WAS COVERED IN WHOLE OR IN PART BY                                      LOSS
                                                                                                             OF PROPERTY                                   INSURANCE, GIVE PARTICULARS
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                                                                                                                    9.   Payments related to debt counseling or bankruptcy

                                                                                                          None           List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys,
                                                                                                                    for consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in
                                                                                                                    bankruptcy within one year immediately preceding the commencement of this case.


                                                                                                                     NAME AND ADDRESS                         DATE OF PAYMENT,                              AMOUNT OF MONEY OR
                                                                                                                         OF PAYEE                             NAME OF PAYOR IF                                DESCRIPTION AND
                                                                                                                                                             OTHER THAN DEBTOR                               VALUE OF PROPERTY

                                                                                                          David Leibowitz                              10/26/10                                        $2,000
                                                                                                          Lakelaw
                                                                                                          420 West Clayton Street
                                                                                                          Waukegan, IL 60085

                                                                                                                    10. Other transfers

                                                                                                          None      a. List all other property, other than property transferred in the ordinary course of the business or financial affairs
                                                                                                                    of the debtor, transferred either absolutely or as security within two years immediately preceding the commencement
                                                                                                                    of this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses
                                                                                                                    whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
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                                                                                                             NAME AND ADDRESS OF TRANSFEREE,                                     DATE                            DESCRIBE PROPERTY
                                                                                                                 RELATIONSHIP TO DEBTOR                                                                           TRANSFERRED AND
                                                                                                                                                                                                                   VALUE RECEIVED


                                                                                                                    b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case
                                                                                                                    to a self-settled trust or similar device of which the debtor is a beneficiary.
                                                                                                          None

                                                                                                                 NAME OF TRUST OR OTHER DEVICE                                DATE(S) OF                     AMOUNT OF MONEY OR
                                                                                                                                                                             TRANSFER(S)                       DESCRIPTION AND
                                                                                                                                                                                                            VALUE OF PROPERTY OR
                                                                                                                                                                                                         DEBTOR'S INTEREST IN PROPERTY


                                                                                                                    11. Closed financial accounts

                                                                                                          None            List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which
                                                                                                                    were closed, sold, or otherwise transferred within one year immediately preceding the commencement of this case.
                                                                                                                    Include checking, savings, or other financial accounts, certificates of deposit, or other instruments; shares and share
                                                                                                                    accounts held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
                                                                                                                    institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or
                                                                                                                    instruments held by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                                    and a joint petition is not filed.)


                                                                                                                   NAME AND                            TYPE OF ACCOUNT, LAST FOUR                                       AMOUNT AND
                                                                                                                  ADDRESS OF                           DIGITS OF ACCOUNT NUMBER,                                        DATE OF SALE
                                                                                                                  INSTITUTION                         AND AMOUNT OF FINAL BALANCE                                        OR CLOSING
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                                                                                                                   12. Safe deposit boxes

                                                                                                          None              List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other
                                                                                                                   valuables within one year immediately preceding the commencement of this case. (Married debtors filing under
                                                                                                                   chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether or not a joint petition
                                                                                                                   is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                                      NAME AND                    NAMES AND ADDRESSES OF                     DESCRIPTION OF               DATE OF
                                                                                                                   ADDRESS OF BANK               THOSE WITH ACCESS TO BOX                      CONTENTS                 TRANSFER OR
                                                                                                                 OR OTHER DEPOSITORY                  OR DEPOSITORY                                                   SURRENDER, IF ANY


                                                                                                                   13. Setoffs

                                                                                                          None            List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days
                                                                                                                   preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
                                                                                                                   information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                                   and a joint petition is not filed.)


                                                                                                                 NAME AND ADDRESS OF CREDITOR                                  DATE                                  AMOUNT
                                                                                                                                                                                OF                                      OF
                                                                                                                                                                              SETOFF                                  SETOFF
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                                                                                                                   14. Property held for another person

                                                                                                          None          List all property owned by another person that the debtor holds or controls.


                                                                                                                     NAME AND                              DESCRIPTION AND                              LOCATION OF PROPERTY
                                                                                                                  ADDRESS OF OWNER                        VALUE OF PROPERTY


                                                                                                                   15. Prior address of debtor
                                                                                                          None
                                                                                                                          If the debtor has moved within the three years immediately preceding the commencement of this case, list all
                                                                                                                   premises which the debtor occupied during that period and vacated prior to the commencement of this case. If a
                                                                                                                   joint petition is filed, report also any separate address of either spouse.


                                                                                                                  ADDRESS                                          NAME USED                                    DATES OF OCCUPANCY
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                                                                                                                  16. Spouses and Former Spouses
                                                                                                          None
                                                                                                                      If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska,
                                                                                                                  Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within
                                                                                                                  eight years immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of
                                                                                                                  any former spouse who resides or resided with the debtor in the community property state.


                                                                                                                               NAME


                                                                                                                  17. Environmental Sites

                                                                                                                  For the purpose of this question, the following definitions apply:

                                                                                                                  "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
                                                                                                                  releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or
                                                                                                                  other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances,
                                                                                                                  wastes, or material.

                                                                                                                            "Site" means any location, facility, or property as defined under any Environmental Law, whether or not
                                                                                                                            presently or formerly owned or operated by the debtor, including, but not limited to, disposal sites.

                                                                                                                            "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance,
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                                                                                                                            hazardous material, pollutant, or contaminant or similar term under an Environmental Law


                                                                                                          None
                                                                                                                  a.    List the name and address of every site for which the debtor has received notice in writing by a governmental
                                                                                                                  unit that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the
                                                                                                                  governmental unit, the date of the notice, and, if known, the Environmental Law:


                                                                                                                  SITE NAME                        NAME AND ADDRESS                         DATE OF                 ENVIRONMENTAL
                                                                                                                 AND ADDRESS                     OF GOVERNMENTAL UNIT                       NOTICE                       LAW


                                                                                                                  b.   List the name and address of every site for which the debtor provided notice to a governmental unit of a release
                                                                                                                  of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.
                                                                                                          None

                                                                                                                  SITE NAME                        NAME AND ADDRESS                         DATE OF                 ENVIRONMENTAL
                                                                                                                 AND ADDRESS                     OF GOVERNMENTAL UNIT                       NOTICE                       LAW


                                                                                                                  c.    List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law
                                                                                                                  with respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or
                                                                                                          None    was a party to the proceeding, and the docket number.


                                                                                                                   NAME AND ADDRESS                              DOCKET NUMBER                              STATUS OR DISPOSITION
                                                                                                                 OF GOVERNMENTAL UNIT
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                                                                                                                    18. Nature, location and name of business

                                                                                                          None      a.       If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the
                                                                                                                    businesses, and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or
                                                                                                                    managing executive of a corporation, partnership, sole proprietorship, or was self-employed in a trade, profession, or
                                                                                                                    other activity either full- or part-time within six years immediately preceding the commencement of this case, or in
                                                                                                                    which the debtor owned 5 percent or more of the voting or equity securities within the six years immediately
                                                                                                                    preceding the commencement of this case.

                                                                                                                    If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and
                                                                                                                    beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the
                                                                                                                    voting or equity securities, within the six years immediately preceding the commencement of this case.

                                                                                                                    If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and
                                                                                                                    beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the
                                                                                                                    voting or equity securities within the six years immediately preceding the commencement of this case.

                                                                                                            NAME            LAST FOUR DIGITS OF                   ADDRESS                   NATURE OF BUSINESS BEGINNING AND
                                                                                                                            SOCIAL-SECURITY OR                                                                 ENDING DATES
                                                                                                                             OTHER INDIVIDUAL
                                                                                                                              TAXPAYER-I.D. NO.
                                                                                                                            (ITIN)/ COMPLETE EIN
                                                                                                          Snowbusiness                2642-5542                 17812 W. Greentree Rd            Antique sale                 2001-present
                                                                                                                                                                Wildwood, Il 60030
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                                                                                                                    b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11
                                                                                                                    U.S.C. § 101.
                                                                                                          None

                                                                                                                    NAME                                                                                ADDRESS




                                                                                                                  The following questions are to be completed by every debtor that is a corporation or partnership and by any individual
                                                                                                          debtor who is or has been, within the six years immediately preceding the commencement of this case, any of the following: an
                                                                                                          officer, director, managing executive, or owner of more than 5 percent of the voting or equity securities of a corporation; a
                                                                                                          partner, other than a limited partner, of a partnership; a sole proprietor or otherwise self-employed.

                                                                                                                   (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in
                                                                                                          business, as defined above, within the six years immediately preceding the commencement of this case. A debtor who has
                                                                                                          not been in business within those six years should go directly to the signature page.)
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                                                                                                                    19. Books, record and financial statements

                                                                                                          None      a.     List all bookkeepers and accountants who within the two years immediately preceding the filing of this
                                                                                                                    bankruptcy case kept or supervised the keeping of books of account and records of the debtor.


                                                                                                           NAME AND ADDRESS                                                              DATES SERVICES RENDERED


                                                                                                          John Zasadil
                                                                                                          17812 Greentree Rd.
                                                                                                          Grayslake, IL 60030

                                                                                                          None      b.    List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case
                                                                                                                    have audited the books of account and records, or prepared a financial statement of the debtor.


                                                                                                                    NAME                                              ADDRESS                            DATES SERVICES RENDERED



                                                                                                          None      c.    List all firms or individuals who at the time of the commencement of this case were in possession of the books
                                                                                                                    of account and records of the debtor. If any of the books of account and records are not available, explain.
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                                                                                                                    NAME                                                 ADDRESS



                                                                                                          None      d.     List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a
                                                                                                                    financial statement was issued within the two years immediately preceding the commencement of this case by the debtor.


                                                                                                                 NAME AND ADDRESS                                                     DATE
                                                                                                                                                                                     ISSUED


                                                                                                                    20. Inventories

                                                                                                          None      a.     List the dates of the last two inventories taken of your property, the name of the person who supervised the
                                                                                                                    taking of each inventory, and the dollar amount and basis of each inventory.


                                                                                                             DATE OF INVENTORY                       INVENTORY SUPERVISOR                      DOLLAR AMOUNT OF INVENTORY
                                                                                                                                                                                                (Specify cost, market or other basis)
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                                                                                                          None      b.      List the name and address of the person having possession of the records of each of the two inventories
                                                                                                                    reported in a., above.


                                                                                                                   DATE OF INVENTORY                                                  NAME AND ADDRESSES OF CUSTODIAN OF
                                                                                                                                                                                             INVENTORY RECORDS


                                                                                                                    21. Current Partners, Officers, Directors and Shareholders

                                                                                                          None      a.   If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


                                                                                                                   NAME AND ADDRESS                        NATURE OF INTEREST                              PERCENTAGE OF INTEREST



                                                                                                          None      b.    If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly
                                                                                                                    or indirectly owns, controls, or holds 5 percent or more of the voting or equity securities of the corporation.


                                                                                                                   NAME AND ADDRESS                                   TITLE                             NATURE AND PERCENTAGE OF
                                                                                                                                                                                                            STOCK OWNERSHIP
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                                                                                                                    22. Former partners, officers, directors and shareholders

                                                                                                          None      a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately
                                                                                                                    preceding the commencement of this case.


                                                                                                                         NAME                                         ADDRESS                               DATE OF WITHDRAWAL



                                                                                                          None      b.    If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated
                                                                                                                    within one year immediately preceding the commencement of this case.


                                                                                                                 NAME AND ADDRESS                                            TITLE                          DATE OF TERMINATION



                                                                                                                    23. Withdrawals from a partnership or distribution by a corporation

                                                                                                          None          If the debtor is a partnership or a corporation, list all withdrawals or distributions credited or given to an insider,
                                                                                                                    including compensation in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite
                                                                                                                    during one year immediately preceding the commencement of this case.


                                                                                                                   NAME & ADDRESS OF                             DATE AND PURPOSE                             AMOUNT OF MONEY OR
                                                                                                                 RECIPIENT, RELATIONSHIP                          OF WITHDRAWAL                              DESCRIPTION AND VALUE
                                                                                                                        TO DEBTOR                                                                                OF PROPERTY
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                                                                                                                            24. Tax Consolidation Group

                                                                                                                 None          If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of
                                                                                                                            any consolidated group for tax purposes of which the debtor has been a member at any time within the six-year
                                                                                                                            period immediately preceding the commencement of the case.


                                                                                                                           NAME OF PARENT CORPORATION                                           TAXPAYER IDENTIFICATION NUMBER (EIN)



                                                                                                                            25. Pension Funds

                                                                                                                 None          If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to
                                                                                                                            which the debtor, as an employer, has been responsible for contributing at any time within the six-year period
                                                                                                                            immediately preceding the commencement of the case.


                                                                                                                                 NAME OF PENSION FUND                                           TAXPAYER IDENTIFICATION NUMBER (EIN)
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                                                                                                                                                                   *    *    *    *    *    *


                                                                                                                 [If completed by an individual or individual and spouse]

                                                                                                                 I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
                                                                                                                 thereto and that they are true and correct.
                                                                                                                 November 8, 2010                                                                   /s/ John Albert Zasadil
                                                                                                          Date                                                              Signature
                                                                                                                                                                            of Debtor               JOHN ALBERT ZASADIL

                                                                                                          Date   November 8, 2010                                           Signature               /s/ Erin Kathleen Zasadil
                                                                                                                                                                            of Joint Debtor         ERIN KATHLEEN ZASADIL
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                                                                                                                                                                                  0 continuation sheets attached
                                                                                                                                                                                _____


                                                                                                                              Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §152 and 3571




                                                                                                                                  DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)
                                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                                          compensation and have provided the debtor with a copy of this document and the notices and required under 11U.S.C. §§ 110(b), 110(h), and 342(b); (3) if
                                                                                                          rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110 setting a maximum fee for services chargeable by bankruptcy petition preparers, I
                                                                                                          have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting any fee from the debtor, as required
                                                                                                          in that section.




                                                                                                          Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                       Social Security No. (Required by 11 U.S.C. § 110(c).)
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                                                                                                          If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or
                                                                                                          partner who signs this document.




                                                                                                          Address

                                                                                                          X
                                                                                                          Signature of Bankruptcy Petition Preparer                                                                                     Date

                                                                                                          Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document unless the bankruptcy petition preparer is
                                                                                                          not an individual:

                                                                                                          If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


                                                                                                          A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines
                                                                                                          or imprisonment or both. 18 U.S.C. §156.
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                                                                                                          B 201B (Form 201B) (12/09)
                                                                                                                                                United States Bankruptcy Court
                                                                                                                                                            Northern District of Illinois



                                                                                                          In re   John Albert Zasadil & Erin Kathleen Zasadil                                          Case No.
                                                                                                                                    Debtor                                                                                    (If known)



                                                                                                                                  CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                                                                                                                      UNDER § 342(b) OF THE BANKRUPTCY CODE

                                                                                                                                            Certification of [Non-Attorney] Bankruptcy Petition Preparer

                                                                                                                    I, the [non-attorney] bankruptcy petition preparer signing the debtor's petition, hereby certify that I delivered to the
                                                                                                           debtor the attached notice, as required by § 342(b) of the Bankruptcy Code
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                                                                                                            Printed name and title, if any, of Bankruptcy Petition Preparer                    Social Security number (If the bankruptcy petition
                                                                                                            Address:                                                                           preparer is not an individual, state the Social Security
                                                                                                                                                                                               number of the officer, principal, responsible person,
                                                                                                                                                                                               or partner of the bankruptcy petition preparer.)
                                                                                                                                                                                               (Required by 11 U.S.C. § 110.)

                                                                                                            X
                                                                                                            Signature of Bankruptcy Petition Preparer or officer,
                                                                                                            Principal, responsible person, or partner whose Social
                                                                                                            Security number is provided above.




                                                                                                                                                                     Certification of the Debtor
                                                                                                                     I, (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
                                                                                                           Code

                                                                                                            John Albert Zasadil & Erin Kathleen Zasadil                                        X   /s/ John Albert Zasadil                 November 8, 2010
                                                                                                            Printed Names(s) of Debtor(s)                                                          Signature of Debtor                            Date

                                                                                                            Case No. (if known)                                                                X   /s/ Erin Kathleen Zasadil               November 8, 2010
                                                                                                                                                                                                   Signature of Joint Debtor, (if any)           Date




                                                                                                            Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

                                                                                                            Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has
                                                                                                            NOT been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by
                                                                                                            the debtor's attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy
                                                                                                            petition preparers on page 3 of Form B1 also include this certification.
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         Advocate Condell Medical Center
         P.O. Box 6572
         Carol Stream, IL 60197-6572


         Apria Healthcare
         P.O. Box 80217
         Chicago, IL 60680-2017


         Asset Acceptance
         P.O. Box 1630
         Warren, MI 48090


         BAC Home Loan Services
         450 American St.
         Simi Valley, CA 93065


         Carol Wright
         Po Box 2852
         Monroe, WI 53566


         CBCS 21
         P.O. Box 2334
         Columbus, OH 43216-21334


         Certified Services
         1733 Washington St. Ste. 201
         Waukegan, IL 60085


         Chase
         Cardmember Service
         PO Box 15153
         Wilmington, DE 19886-5153


         Chase Receivables
         1247 Broadway
         Sonoma, CA 95476


         Credit One
         P.O. Box 98873
         Las Vegas, NV 89193
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         FFCC-Columbus, Inc.
         P.O. Box 20790
         Columbus, OH 43220


         FFCC-Columbus, Inc.
         P.O. Box 20790
         Columbus, OH 43220



         Financial Recovery Services, Inc.
         P.O. Box 385908
         Minneapolis, MN 55438-5908


         Fingerhut
         6250 Ridgewood Rd.
         St. Cloud, MN 56303


         First Premier Bank
         P.O. Box 5524
         Sioux Falls, SD 57117


         Freedman Anselmo Lindberg, LLC
         1807 W. Diehl Rd. Ste. 3228
         Naperville, IL 60566-7228



         Great Lake Credit Union
         Greenbay Rd
         North Chicago, IL 60064


         Home Depot
         Processing Center
         Des Moines, IA 50364-0000


         HSBC Card Services
         P.O. Box 17051
         Baltimore, MD 21297-1051


         IL Bone and Joint Institute
         5057 Paysphere Circle
         Chicago, IL 60674-0001
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         Ill. Dept. of Employment Security
         Benefit Repayments
         P.O. Box 19286
         Springfield, IL 62794-9286


         K. Jordan
         P.O. Box 8945
         Madison, WI 53708


         Keynote Consulting
         220 W. Campus Dr.
         Ste. 102
         Arlington Heights, Il 60004


         Keynote Consulting
         220 W. Campus Dr. Ste. 102
         Arlington Heights, IL 60004


         Keyston Consulting
         220 W. Campus Dr. Ste. 102
         Arlington Heights, IL 60004


         Lake Forest Hospital
         400 Deerpath
         Lake Forest, IL 60047


         Mcm
         Po Box 60578
         Los Angeles, CA 90060


         Medical Eye Services
         48 S. Greenleaf
         Gurnee, IL 60031


         Midland Credit Management
         P.O. Box 60578
         Los Angeles, CA 90060-0578


         National Credit Solutions
         P.O. Box 15779
         Oklahoma City, OK 73155
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         National Recovery Agency
         2491 Paxon St.
         Harrisburg, PA 17111


         NCO Financial System
         Payment Services
         P.O. Box 60500
         City of Industry, CA 91716-0500


         Northshore Lab Service
         9851 Eagle Way
         Chicago, IL 60678


         NorthShore University Health System
         9851 Eagle Way
         Chicago, IL 60678-0001


         Northshore University Healthsystem
         9851 Eagle Way
         Chicago, IL 60678-0001


         Nuvell Credit Company
         P.O. Box 9001952
         Louisville, KY 40290-1952


         Nuvell Credit Union
         P.O. Box 380902
         Bloomington, MN 55438-0902


         Penn Credit Corporation
         916 S. 14th St.
         Harrisburg, PA 17104


         Physiotherapy Associates
         P.O.Box 3379
         Montgomery, AL 36109-0379


         Pinnacle Management Services
         514 Market Loop, Ste. 103
         West Dundee, IL 60118
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         Professional Recovery Consultants, Inc.
         P.O. Box 51187
         Durham, NC 27717-1187


         RJM Acq., LLC
         575 Underhill Blvd. Ste. 224
         Syosset, NY11791


         Shop Now Pay Plan
         P.O. Box 2852
         Monroe, WI 53566-8052


         The Wirbicki Law Group
         33 W. Monroe St. Ste. 1140
         Chicago, IL 60603


         Through the Country Door
         1112 7th Ave.
         Monroe, WI 53566


         Transworld Systems Inc.
         1375 E. Woodfield Rd. #110
         Schaumburg, IL 60173


         WFNNB-King Size
         P.O. Box 659728
         San Antonio, TX 78265-9728


         WFNNB-Roaman's
         P.O. Box 659728
         San Antonio, TX 78265-9728


         Woman Within
         1247 Broadway
         Sonoma, CA 95476


         World Financial Network
         P.O. Box 182124
         Columbus, oh 43218
                                                                                                                           Case 10-49937                Doc 1         Filed 11/08/10 Entered 11/08/10 14:37:36                                   Desc Main
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                                                                                                          B203
                                                                                                          12/94
                                                                                                                                                      United States Bankruptcy Court
                                                                                                                                                                         Northern District of Illinois
                                                                                                                  In re John Albert Zasadil & Erin Kathleen Zasadil                                           Case No. ____________________
                                                                                                                                                                                                              Chapter           13
                                                                                                                                                                                                                           ____________________
                                                                                                                  Debtor(s)
                                                                                                                                     DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

                                                                                                          1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s)
                                                                                                                  and that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services
                                                                                                                  rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follow s:

                                                                                                                                                                                                               3,500.00
                                                                                                                  For legal services, I have agreed to accept .............................……………………….... $ ______________
                                                                                                                                                                                                                   2,000.00
                                                                                                                  Prior to the filing of this statement I have received ..........…………………................... $ ______________

                                                                                                                                                                                                              1,500.00
                                                                                                                  Balance Due ......................................……………………………………….................... $ ______________

                                                                                                          2.      The source of compensation paid to me was:

                                                                                                                                     Debtor                   Other (specify)
                                                                                                          3.      The source of compensation to be paid to me is:
                                                                                                                                     Debtor                   Other (specify)

                                                                                                          4.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and
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                                                                                                          associates of my law firm.

                                                                                                                     I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates
                                                                                                          of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

                                                                                                          5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
                                                                                                                   a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
                                                                                                                   b.   Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
                                                                                                                   c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
                                                                                                                   d.   [Other provisions as needed]
                                                                                                           $274 filing fee




                                                                                                           6.       By agreement with the debtor(s), the above-disclosed fee does not include the following services:
                                                                                                           Representation in adversary and contested matters.




                                                                                                                                                                                       CERTIFICATION

                                                                                                                           I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the
                                                                                                                        debtor(s) in the bankruptcy proceeding.


                                                                                                                           November 8, 2010
                                                                                                                        ____________________________________                                   /s/ David Leibowitz
                                                                                                                                                                                             __________________________________________________
                                                                                                                                       Date                                                                   Signature of Attorney

                                                                                                                                                                                                Lakelaw
                                                                                                                                                                                              __________________________________________________
                                                                                                                                                                                                               Name of law firm
                                                                                                                         Case 10-49937           Doc 1      Filed 11/08/10 Entered 11/08/10 14:37:36                    Desc Main
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                                                                                                                                                                       According to the calculations required by this statement:
                                                                                                                  John Albert Zasadil & Erin Kathleen Zasadil           The applicable commitment period is 3 years.
                                                                                                          In re
                                                                                                                                    Debtor(s)                           The applicable commitment period is 5 years.
                                                                                                                                                                        Disposable income is determined under § 1325(b)(3).
                                                                                                          Case Number:
                                                                                                                                   (If known)
                                                                                                                                                                        Disposable income not determined under § 1325(b)(3).
                                                                                                                                                                      (Check the boxes as directed in Lines 17 and 23 of this statement.)

                                                                                                                        CHAPTER 13 STATEMENT OF CURRENT MONTHLY INCOME
                                                                                                                  AND CALCULATION OF COMMITMENT PERIOD AND DISPOSABLE INCOME
                                                                                                          In addition to Schedule I and J, this statement must be completed by every individual Chapter 13 debtor, whether or not filing
                                                                                                          jointly. Joint debtors may complete one statement only.

                                                                                                                                                            Part I. REPORT OF INCOME
                                                                                                                   Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.

                                                                                                                    a.      Unmarried. Complete only Column A (“Debtor’s Income”) for Lines 2-10.
                                                                                                                    b.      Married. Complete both Column A (“Debtor’s Income”) and Column B ("Spouse’s Income") for Lines 2-10.
                                                                                                            1       All figures must reflect average monthly income received from all sources, derived during the       Column A        Column B
                                                                                                                    six calendar months prior to filing the bankruptcy case, ending on the last day of the month        Debtor’s        Spouse’s
                                                                                                                    before the filing. If the amount of monthly income varied during the six months, you must            Income          Income
                                                                                                                    divide the six-month total by six, and enter the result on the appropriate line.
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                                                                                                             2     Gross wages, salary, tips, bonuses, overtime, commissions.                                       $               $
                                                                                                                                                                                                                         4,999.99           0.00
                                                                                                                   Income from the operation of a business, profession or farm. Subtract Line b from
                                                                                                                   Line a and enter the difference in the appropriate column(s) of Line 3. If you operate more
                                                                                                                   than one business, profession or farm, enter aggregate numbers and provide details on an
                                                                                                                   attachment. Do not enter a number less than zero. Do not include any part of the
                                                                                                             3     business expenses entered on Line b as a deduction in Part IV.

                                                                                                                     a.        Gross receipts                                    $                      0.00
                                                                                                                     b.        Ordinary and necessary business expenses          $                      0.00
                                                                                                                     c.        Business income                                   Subtract Line b from Line a
                                                                                                                                                                                                                    $       0.00    $       0.00
                                                                                                                   Rents and other real property income. Subtract Line b from Line a and enter the
                                                                                                                   difference in the appropriate column(s) of Line 4. Do not enter a number less than zero. Do
                                                                                                                   not include any part of the operating expenses entered on Line b as a deduction in
                                                                                                                   Part IV.
                                                                                                             4       a.        Gross receipts                                    $                      0.00
                                                                                                                     b.        Ordinary and necessary operating expenses         $                      0.00
                                                                                                                     c.        Rent and other real property income               Subtract Line b from Line a
                                                                                                                                                                                                                    $       0.00    $       0.00
                                                                                                             5     Interest, dividends and royalties.                                                               $       5.00    $       0.00
                                                                                                             6     Pension and retirement income.                                                                   $       0.00    $       0.00
                                                                                                                   Any amounts paid by another person or entity, on a regular basis, for the household
                                                                                                             7     expenses of the debtor or the debtor's dependents, including child support paid for
                                                                                                                   that purpose. Do not include alimony or separate maintenance payments or amounts paid
                                                                                                                   by the debtor’s spouse.                                                                          $       0.00    $       0.00
                                                                                                                    Unemployment compensation. Enter the amount in the appropriate column(s) of Line 8.
                                                                                                                    However, if you contend that unemployment compensation received by you or your spouse
                                                                                                                    was a benefit under the Social Security Act, do not list the amount of such compensation in
                                                                                                             8      Column A or B, but instead state the amount in the space below:

                                                                                                                         Unemployment compensation claimed to
                                                                                                                         be a benefit under the Social Security Act   Debtor $       0.00   Spouse $    0.00                0.00            0.00
                                                                                                                                                                                                                    $               $
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                                                                                                                Income from all other sources. Specify source and amount. If necessary, list additional
                                                                                                                sources on a separate page. Total and enter on Line 9. Do not include alimony or
                                                                                                                separate maintenance payments paid by your spouse, but include all other
                                                                                                                payments of alimony or separate maintenance. Do not include any benefits received
                                                                                                           9    under the Social Security Act or payments received as a victim of a war crime, crime against
                                                                                                                humanity, or as a victim of international or domestic terrorism.

                                                                                                                   a.                                                                        $        0.00
                                                                                                                   b.                                                                        $        0.00                 0.00             0.00
                                                                                                                                                                                                                 $                $

                                                                                                                Subtotal. Add Lines 2 thru 9 in Column A, and, if Column B is completed, add Lines 2
                                                                                                          10    through 9 in Column B. Enter the total(s).                                                       $    5,004.99    $         0.00
                                                                                                                Total. If Column B has been completed, add Line 10, Column A to Line 10, Column B, and
                                                                                                           11   enter the total. If Column B has not been completed, enter the amount from Line 10,              $                     5,004.99
                                                                                                                Column A.

                                                                                                                            Part II. CALCULATION OF § 1325(b)(4) COMMITMENT PERIOD
                                                                                                          12    Enter the Amount from Line 11.                                                                               $         5,004.99
                                                                                                                Marital adjustment. If you are married, but are not filing jointly with your spouse, AND if you contend
                                                                                                                that calculation of the commitment period under § 1325(b)(4) does not require inclusion of the income of
                                                                                                                your spouse, enter on Line 13 the amount of the income listed in Line 10, Column B that was NOT paid
                                                                                                                on a regular basis for the household expenses of you or your dependents and specify, in the lines below,
                                                                                                                the basis for excluding this income (such as payment of the spouse's tax liability or the spouse's support
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                                                                                                                of persons other than the debtor or the debtor's dependents) and the amount of income devoted to each
                                                                                                                purpose. If necessary, list additional adjustments on a separate page. If the conditions for entering this
                                                                                                           13   adjustment do not apply, enter zero.

                                                                                                                  a.                                                                         $
                                                                                                                                                                                                      0.00
                                                                                                                  b.                                                                         $
                                                                                                                                                                                                      0.00
                                                                                                                  c.                                                                         $
                                                                                                                                                                                                      0.00
                                                                                                                Total and enter on Line 13.
                                                                                                                                                                                                                                            0.00
                                                                                                                                                                                                                             $

                                                                                                          14    Subtract Line 13 from Line 12 and enter the result.                                                          $         5,004.99
                                                                                                           15   Annualized current monthly income for §1325(b)(4). Multiply the amount from Line 14 by
                                                                                                                the number 12 and enter the result.                                                                          $        60,059.88
                                                                                                                Applicable median family income. Enter the median family income for the applicable state and
                                                                                                           16   household size. (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of
                                                                                                                the bankruptcy court.)
                                                                                                                                                        Illinois
                                                                                                                a. Enter debtor’s state of residence: _______________                                            3
                                                                                                                                                                           b. Enter debtor’s household size: __________      $        68,782.00
                                                                                                                Application of §1325(b)(4). Check the applicable box and proceed as directed.

                                                                                                                        The amount on Line 15 is less than or equal to the amount on Line 16. Check the box for "The
                                                                                                                        applicable commitment period is 3 years" at the top of page 1 of this statement and continue with this statement.
                                                                                                           17
                                                                                                                        The amount on Line 15 is more than the amount on Line 16. Check the box for "The applicable
                                                                                                                        commitment period is 5 years" at the top of page 1 of this statement and continue with this statement.


                                                                                                            Part III. APPLICATION OF § 1325(b)(3) FOR DETERMINING DISPOSABLE INCOME
                                                                                                          18    Enter the Amount from Line11.                                                                                $         5,004.99
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                                                                                                                Marital adjustment. If you are married, but are not filing jointly with your spouse, enter on Line 19
                                                                                                          19    the total of any income listed in Line 10, Column B that was NOT paid on a regular basis for the
                                                                                                                household expenses of you or your dependents. Specify, in the lines below, the basis for excluding the
                                                                                                                Column B income (such as payment of the spouse's tax liability or the spouse's support of persons other
                                                                                                                than the debtor or the debtor's dependents) and the amount of income devoted to each purpose. If
                                                                                                                necessary, list additional adjustments on a separate page. If the conditions for entering this adjustment
                                                                                                                do not apply, enter zero.


                                                                                                                   a.                                                                       $        0.00
                                                                                                                   b.                                                                       $        0.00
                                                                                                                   c.                                                                       $        0.00

                                                                                                                 Total and enter on Line 19.                                                                                $
                                                                                                                                                                                                                                           0.00
                                                                                                          20    Current monthly income for §1325(b)(3). Subtract Line 19 from Line 18 and enter the result. $                      5,004.99
                                                                                                          21    Annualized current monthly income for §1325(b)(3). Multiply the amount from Line 20 by
                                                                                                                the number 12 and enter the result.                                                                         $     60,059.88
                                                                                                          22    Applicable median family income. Enter the amount from Line 16.                                             $
                                                                                                                                                                                                                                  68,782.00
                                                                                                                Application of §1325(b)(3). Check the applicable box and proceed as directed.
                                                                                                                        The amount on Line 21 is more than the amount on Line 22. Check the box for "Disposable income
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                                                                                                                        is determined under §1325(b)(3)." at the top of page 1 of this statement and complete the remaining parts of this
                                                                                                          23            statement.
                                                                                                                        The amount on Line 21 is not more than the amount on Line 22. Check the box for " Disposable
                                                                                                                        income is not determined under §1325(b)(3)" at the top of page 1 of this statement and continue with Part VII of
                                                                                                                        this statement. Do not complete Parts IV, V or VI.


                                                                                                                                  Part IV. CALCULATION OF DEDUCTIONS FROM INCOME

                                                                                                                Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
                                                                                                                National Standards: food, clothing, household supplies, personal care, and
                                                                                                          24A   miscellaneous. Enter “Total” amount from IRS National Standards for Allowable Living Expenses for
                                                                                                                the applicable family size and income level. (This information is available at www.usdoj.gov/ust/ or from
                                                                                                                the clerk of the bankruptcy court.)                                                                       $        N.A.
                                                                                                                National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for
                                                                                                                Out-of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards
                                                                                                                for persons 65 years of age or older. (This information is available at www.usdoj.gov/ust/ or from the
                                                                                                                clerk of the bankruptcy court.) Enter in Line b1 the number of members of your household who are
                                                                                                                under 65 years of age, and enter in Line b2 the number of members of your household who are 65 years
                                                                                                                or older. (The total number of household members must be the same as the number stated in Line
                                                                                                                16b). Multiply line a1 by Line b1 to obtain a total amount for household members under 65, and enter
                                                                                                                the result in Line c1. Multiply Line a2 by Line b2 to obtain a total amount for household members 65
                                                                                                          24B   and older, and enter the result in Line c2. Add Lines c1 and c2 to obtain a total health care amount, and
                                                                                                                enter the result in Line 19B.

                                                                                                                 Household members under 65 years of age             Household members 65 years of age or older

                                                                                                                  a1.      Allowance per member             N.A.      a2.     Allowance per member              N.A.
                                                                                                                  b1.      Number of members                          b2.    Number of members
                                                                                                                                                            N.A.                                                 N.A.
                                                                                                                  c1.      Subtotal                         N.A.      c2.     Subtotal                          N.A.        $      N.A.
                                                                                                                Local Standards: housing and utilities; non-mortgage expenses Enter amount of the IRS
                                                                                                          25A   Housing and Utilities Standards; non-mortgage expenses for the applicable county and household size.
                                                                                                                (This information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)            $      N.A.
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                                                                                                                Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the
                                                                                                                amount of the IRS Housing and Utilities Standards; mortgage/rent expense for your county and family size
                                                                                                                (this information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter on
                                                                                                                Line b the total of the Average Monthly Payments for any debts secured by your home, as stated in Line 47;
                                                                                                                subtract Line b from Line a and enter the result in Line 25B. Do not enter an amount less than zero.


                                                                                                                  a.        IRS Housing and Utilities Standards; mortgage/rental expense   $                     N.A.
                                                                                                          25B
                                                                                                                            Average Monthly Payment for any debts secured by your
                                                                                                                  b.
                                                                                                                            home, if any, as stated in Line 47                             $                     N.A.
                                                                                                                  c.        Net mortgage/rental expense                                    Subtract Line b from Line a.         $   N.A.
                                                                                                                Local Standards: housing and utilities; adjustment. If you contend that the process set out in
                                                                                                                Lines 25A and 25B does not accurately compute the allowance to which you are entitled under the IRS
                                                                                                                Housing and Utilities Standards, enter any additional amount to which you contend you are entitled, and
                                                                                                                state the basis for your contention in the space below:
                                                                                                          26



                                                                                                                                                                                                                                $   N.A.
                                                                                                                Local Standards: transportation; vehicle operation/public transportation expense.
                                                                                                                You are entitled to an expense allowance in this category regardless of whether you pay the expenses of
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                                                                                                                operating a vehicle and regardless of whether you use public transportation.

                                                                                                                Check the number of vehicles for which you pay the operating expenses or for which the operating
                                                                                                          27A   expenses are included as a contribution to your household expenses in Line 7.   0      1      2 or more.
                                                                                                                If you checked 0, enter on Line 27A the “Public Transportation” amount from IRS Local Standards:
                                                                                                                Transportation. If you checked 1 or 2 or more, enter on Line 27A the “Operating Costs” amount from
                                                                                                                IRS Local Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan
                                                                                                                Statistical Area or Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk
                                                                                                                of the bankruptcy court.)                                                                                       $   N.A.
                                                                                                                Local Standards: transportation; additional public transportation expense. If you pay
                                                                                                                the operating expenses for a vehicle and also use public transportation, and you contend that you are
                                                                                                          27B   entitled to an additional deduction for your public transportation expenses, enter on Line 27B the "Public
                                                                                                                Transportation" amount from the IRS Local Standards: Transportation. (This amount is available at
                                                                                                                www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)                                                  $   N.A.
                                                                                                                Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number
                                                                                                                of vehicles for which you claim an ownership/lease expense. (You may not claim an ownership/lease
                                                                                                                expense for more than two vehicles.)       1        2 or more.
                                                                                                                Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards: Transportation
                                                                                                                (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
                                                                                                                Average Monthly Payments for any debts secured by Vehicle 1, as stated in Line 47; subtract Line b from
                                                                                                                Line a and enter the result in Line 28. Do not enter an amount less than zero.
                                                                                                          28
                                                                                                                       a.     IRS Transportation Standards, Ownership Costs, First Car         $                 N.A.
                                                                                                                              Average Monthly Payment for any debts secured by Vehicle
                                                                                                                       b.
                                                                                                                              1, as stated in Line 47                                          $                 N.A.
                                                                                                                       c.     Net ownership/lease expense for Vehicle 1                        Subtract Line b from Line a.         N.A.
                                                                                                                                                                                                                                $
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                                                                                                               Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line
                                                                                                               only if you checked the “2 or more” Box in Line 28
                                                                                                               Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards: Transportation
                                                                                                               (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of
                                                                                                               that Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 47; subtract Line b
                                                                                                               from Line a and enter the result in Line 29. Do not enter an amount less than zero.
                                                                                                          29
                                                                                                                   a.     IRS Transportation Standards, Ownership Costs, Second Car            $                   N.A.
                                                                                                                          Average Monthly Payment for any debts secured by Vehicle
                                                                                                                   b.                                                                          $
                                                                                                                          2, as stated in Line 47                                                                  N.A.
                                                                                                                   c.     Net ownership/lease expense for Vehicle 2                            Subtract Line b from Line a.
                                                                                                                                                                                                                                 $   N.A.
                                                                                                               Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur
                                                                                                          30   for all for all federal, state and local taxes, other than real estate and sales taxes, such as income taxes,
                                                                                                               self employment taxes, social security taxes, and Medicare taxes. Do not include real estate or sales
                                                                                                                                                                                                                                 $
                                                                                                               taxes.                                                                                                                N.A.
                                                                                                               Other Necessary Expenses: mandatory payroll deductions. Enter the total average monthly
                                                                                                               payroll deductions that are required for your employment, such as mandatory retirement contributions,
                                                                                                          31
                                                                                                               union dues, and uniform costs. Do not include discretionary amounts, such as non-mandatory
                                                                                                               401(k) contributions.                                                                                             $   N.A.
                                                                                                               Other Necessary Expenses: life insurance. Enter total average monthly premiums that you
                                                                                                          32
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                                                                                                               actually pay for term life insurance for yourself. Do not include premiums on your dependents, for
                                                                                                               whole life or for any other form of insurance.                                                                    $
                                                                                                                                                                                                                                     N.A.
                                                                                                               Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that
                                                                                                          33   you are required to pay pursuant to the order of a court or administrative agency, such as spousal or child
                                                                                                               support payments. Do not include payments on past due support obligations included in Line 49.                    $   N.A.
                                                                                                               Other Necessary Expenses: education for employment or for a physically or mentally
                                                                                                               challenged child. Enter the total monthly amount that you actually expend for education that is a
                                                                                                          34
                                                                                                               condition of employment and for education that is required for a physically or mentally challenged
                                                                                                                                                                                                                                 $   N.A.
                                                                                                               dependent child for whom no public education providing similar services is available.
                                                                                                               Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually
                                                                                                          35   expend on childcare—such as baby-sitting, day care, nursery and preschool. Do not include other
                                                                                                               educational payments.                                                                                             $   N.A.
                                                                                                                Other Necessary Expenses: health care. Enter the total average monthly amount that you
                                                                                                                actually expend on health care that is required for the health and welfare of yourself or your dependents,
                                                                                                          36
                                                                                                                that is not reimbursed by insurance or paid by a health savings account, and that is in excess of the
                                                                                                                amount entered in Line 24B. Do not include payments for health insurance or health savings
                                                                                                                accounts listed in Line 39.                                                                                $         N.A.
                                                                                                               Other Necessary Expenses: telecommunication services. Enter the total average monthly
                                                                                                               amount that you actually pay for telecommunications services other than your basic home telephone and
                                                                                                          37   cell phone service – such as pagers, call waiting, caller id, special long distance, or internet service—to the
                                                                                                               extent necessary for your health and welfare or that of your dependents. Do not include any amount
                                                                                                               previously deducted.                                                                                              $   N.A.
                                                                                                          38    Total Expenses Allowed under IRS Standards. Enter the total of Lines 24 through 37.                              $   N.A.
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                                                                                                                                                 Subpart B: Additional Living Expense Deductions
                                                                                                                                       Note: Do not include any expenses that you have listed in Lines 24-37
                                                                                                                    Health Insurance, Disability Insurance and Health Savings Account Expenses. List the
                                                                                                                    monthly expenses in the categories set out in lines a-c below that are reasonably necessary for yourself,
                                                                                                                    your spouse, or your dependents.
                                                                                                                           a.     Health Insurance                                                                 $                     N.A.
                                                                                                                           b.     Disability Insurance                                                             $
                                                                                                           39                                                                                                                            N.A.
                                                                                                                           c.     Health Savings Account                                                           $
                                                                                                                                                                                                                                         N.A.
                                                                                                                                                                                                                                                         $
                                                                                                                         Total and enter on Line 39
                                                                                                                                                                                                                                                                  N.A.
                                                                                                                         If you do not actually expend this total amount, state your actual average expenditures in the
                                                                                                                         space below:
                                                                                                                          $         N.A.
                                                                                                                    Continued contributions to the care of household or family members. Enter the total
                                                                                                           40       average actual monthly expenses that you will continue to pay for the reasonable and necessary care and
                                                                                                                    support of an elderly, chronically ill, or disabled member of your household or member of your immediate
                                                                                                                    family who is unable to pay for such expenses. Do not include payments listed in Line 34.                $                                    N.A.
                                                                                                                    Protection against family violence. Enter the total average reasonably necessary monthly
                                                                                                           41       expenses that you actually incur to maintain the safety of your family under the Family Violence
                                                                                                                    Prevention and Services Act or other applicable federal law. The nature of these expenses is required to
                                                                                                                                                                                                                                                         $        N.A.
                                                                                                                    be kept confidential by the court.
                                                                                                                    Home energy costs. Enter the total average monthly amount, in excess of the allowance specified
                                                                                                                    by IRS Local Standards for Housing and Utilities that you actually expend for home energy costs. You
                                                                                                           42       must provide your case trustee with documentation of your actual expenses, and you must
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                                                                                                                    demonstrate that the additional amount claimed is reasonable and necessary.                                                          $        N.A.
                                                                                                                    Education expenses for dependent children under 18. Enter the total average monthly
                                                                                                                    expenses that you actually incur, not to exceed $147.92* per child, for attendance at a private or public
                                                                                                                    elementary or secondary school by your dependent children less than 18 years of age. You must provide
                                                                                                           43
                                                                                                                    your case trustee with documentation of your actual expenses, and you must explain why the
                                                                                                                    the amount claimed is reasonable and necessary and not already accounted for in the IRS                                                       N.A.
                                                                                                                                                                                                                              $
                                                                                                                    Standards.

                                                                                                                   Additional food and clothing expense. Enter the total average monthly amount by which your
                                                                                                                   food and clothing expenses exceed the combined allowances for food and clothing (apparel and services) in
                                                                                                           44      the IRS National Standards, not to exceed 5% of those combined allowances. (This information is available
                                                                                                                   at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) You must demonstrate that the
                                                                                                                   additional amount claimed is reasonable and necessary.                                                    $                                    N.A.

                                                                                                                    Charitable contributions. Enter the amount reasonably necessary for you to expend each month on
                                                                                                           45       charitable contributions in the form of cash or financial instruments to a charitable organization as defined
                                                                                                                    in in the form of cash or financial instruments to a charitable organization as defined in 26 U.S.C. §
                                                                                                                                                                                                                                  $                               N.A.
                                                                                                                    170(c)(1)-(2). Do not include any amount in excess of 15% of your gross monthly income.

                                                                                                           46       Total Additional Expense Deductions under § 707(b). Enter the total of Lines 39 through 45. $                                                 N.A.
                                                                                                                                                          Subpart C: Deductions for Debt Payment

                                                                                                                     Future payments on secured claims. For each of your debts that is secured by an interest in
                                                                                                                     property that you own, list the name of creditor, identify the property securing the debt, and state the
                                                                                                                     Average Monthly Payment, and check whether the payment includes taxes and insurance. The Average
                                                                                                                     Monthly Payment is the total of all amounts scheduled as contractually due to each Secured Creditor in the
                                                                                                                     60 months following the filing of the bankruptcy case, divided by 60. Mortgage debts should include
                                                                                                                     payments of taxes and insurance required by the mortgage. If necessary, list additional entries on a
                                                                                                                     separate page. Enter the total of the Average Monthly Payments on Line 47.
                                                                                                           47

                                                                                                                                Name of Creditor                   Property Securing the Debt                    Average           Does payment
                                                                                                                                                                                                                 Monthly           include taxes
                                                                                                                                                                                                                 Payment           or insurance?
                                                                                                                    a.                                                                                      $                            yes       no
                                                                                                                    b.                                                                                      $                            yes       no

                                                                                                                    c.                                                                                      $                            yes       no
                                                                                                                                                                                                           Total: Add Lines
                                                                                                                                                                                                           a, b and c                                    $
                                                                                                                                                                                                                                                                  N.A.
                                                                                                                *Amount subject to adjustment on 4/01/2013, and every three years thereafter with respect to case commenced on or after the date of adjustment.
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                                                                                                                Other payments on secured claims. If any of debts listed in Line 47 are secured by your primary
                                                                                                                residence, a motor vehicle, or other property necessary for your support or the support of your
                                                                                                                dependents, you may include in your deduction 1/60th of any amount (the “cure amount”) that you must
                                                                                                                pay the creditor in addition to the payments listed in Line 47, in order to maintain possession of the
                                                                                                                property. The cure amount would include any sums in default that must be paid in order to avoid
                                                                                                                repossession or foreclosure. List and total any such amounts in the following chart. If necessary, list
                                                                                                                additional entries on a separate page.
                                                                                                          48                  Name of Creditor             Property Securing the Debt         1/60th of the Cure Amount
                                                                                                                a.                                                                           $
                                                                                                                b.
                                                                                                                                                                                             $
                                                                                                                c.                                                                           $
                                                                                                                                                                                              Total: Add Lines a, b and c    $    N.A.
                                                                                                                Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority
                                                                                                          49    claims, such as priority tax, child support and alimony claims, for which you were liable at the time of
                                                                                                                your bankruptcy filing. Do not include current obligations, such as those set out in Line 33.                $
                                                                                                                                                                                                                                  N.A.
                                                                                                                Chapter 13 administrative expenses. Multiply the amount in Line a by the amount in Line b, and
                                                                                                                enter the resulting administrative expense.
                                                                                                                a.       Projected average monthly Chapter 13 plan payment.                  $                  N.A.
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                                                                                                                         Current multiplier for your district as determined under
                                                                                                                b.       schedules issued by the Executive Office for United States
                                                                                                          50             Trustees. (This information is available at www.usdoj.gov/ust/
                                                                                                                         or from the clerk of the bankruptcy court.)                         x
                                                                                                                                                                                                                N.A.
                                                                                                                c.       Average monthly administrative expense of Chapter 13 case           Total: Multiply Lines a and b
                                                                                                                                                                                                                             $    N.A.
                                                                                                          51    Total Deductions for Debt Payment. Enter the total of Lines 47 through 50.
                                                                                                                                                                                                                             $    N.A.
                                                                                                                                             Subpart D: Total Deductions from Income
                                                                                                          52    Total of all deductions from income. Enter the total of Lines 38, 46, and 51.                                $    N.A.
                                                                                                                     Part VI. DETERMINATION OF DISPOSABLE INCOME UNDER § 1325(b)(2)
                                                                                                          53    Total current monthly income. Enter the amount from Line 20.                                                 $    N.A.
                                                                                                                Support income. Enter the monthly average of any child support payments, foster care payments, or
                                                                                                          54    disability payments for a dependent child, reported in Part I, that you received in accordance with
                                                                                                                applicable nonbankruptcy law, to the extent reasonably necessary to be expended for such child.              $    N.A.
                                                                                                                Qualified retirement deductions. Enter the monthly total of (a) all amounts withheld by your
                                                                                                          55    employer from wages as contributions for qualified retirement plans, as specified in § 541(b)(7) and (b)
                                                                                                                all repayments of loans from retirement plans, as specified in § 362(b)(19).                                 $    N.A.

                                                                                                          56    Total of all deductions allowed under § 707(b)(2). Enter the amount from Line 52.                            $    N.A.
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                                                                                                                Deduction for special circumstances. If there are special circumstances that justify additional
                                                                                                                expenses for which there is no reasonable alternative, describe the special circumstances and the
                                                                                                                resulting expenses in lines a-c below. If necessary, list additional entries on a separate page. Total the
                                                                                                                expenses and enter the total in Line 57. You must provide your case trustee with documentation
                                                                                                                of theses expenses and you must provide a detailed explanation of the special circumstances
                                                                                                                that make such expenses necessary and reasonable.

                                                                                                           57
                                                                                                                                       Nature of special circumstances                                  Amount of expense
                                                                                                                 a.                                                                                 $
                                                                                                                 b.                                                                                 $
                                                                                                                 c.                                                                                 $
                                                                                                                                                                                                    Total: Add Lines a, b and c   $
                                                                                                                                                                                                                                       N.A.

                                                                                                          58    Total adjustments to determine disposable income. Add the amounts on Lines 54, 55, 56 and
                                                                                                                57 and enter the result.                                                                                          $    N.A.
                                                                                                                Monthly Disposable Income Under § 1325(b)(2). Subtract Line 58 from Line 53 and enter
                                                                                                           59                                                                                                                     $    N.A.
                                                                                                                the result.
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                                                                                                                                              Part VI: ADDITIONAL EXPENSE CLAIMS


                                                                                                                Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the
                                                                                                                health and welfare of you and your family and that you contend should be an additional deduction from your current monthly
                                                                                                                income under § 707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your
                                                                                                                average monthly expense for each item. Total the expenses.

                                                                                                           60
                                                                                                                                             Expense Description                                                    Monthly Amount
                                                                                                                  a.                                                                                          $
                                                                                                                  b.                                                                                          $
                                                                                                                  c.                                                                                          $
                                                                                                                                                               Total: Add Lines a, b and c                           N.A.

                                                                                                                                                          Part VII: VERIFICATION
                                                                                                                I declare under penalty of perjury that the information provided in this statement is true and correct. (If this a joint case,
                                                                                                                both debtors must sign.)

                                                                                                           61          Date:   November 8, 2010                Signature:         /s/ John Albert Zasadil
                                                                                                                                                                                      (Debtor)


                                                                                                                       Date:   November 8, 2010                Signature:
                                                                                                                                                                                  /s/ Erin Kathleen Zasadil
                                                                                                                                                                                    (Joint Debtor, if any)
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                                                                                                                                              Form 22 Continuation Sheet
                                                                                                          Income Month 1                                            Income Month 2

                                                                                                          Gross wages, salary, tips...           4,999.99    0.00   Gross wages, salary, tips...        4,999.99    0.00
                                                                                                          Income from business...                    0.00    0.00   Income from business...                 0.00    0.00
                                                                                                          Rents and real property income...          0.00    0.00   Rents and real property income...       0.00    0.00
                                                                                                          Interest, dividends...                     5.00    0.00   Interest, dividends...                  5.00    0.00
                                                                                                          Pension, retirement...                     0.00    0.00   Pension, retirement...                  0.00    0.00
                                                                                                          Contributions to HH Exp...                 0.00    0.00   Contributions to HH Exp...              0.00    0.00
                                                                                                          Unemployment...                            0.00    0.00   Unemployment...                         0.00    0.00
                                                                                                          Other Income...                            0.00    0.00   Other Income...                         0.00    0.00



                                                                                                          Income Month 3                                            Income Month 4


                                                                                                          Gross wages, salary, tips...           4,999.99    0.00   Gross wages, salary, tips...        4,999.99    0.00
                                                                                                          Income from business...                    0.00    0.00   Income from business...                 0.00    0.00
                                                                                                          Rents and real property income...          0.00    0.00   Rents and real property income...       0.00    0.00
                                                                                                          Interest, dividends...                     5.00    0.00   Interest, dividends...                  5.00    0.00
                                                                                                          Pension, retirement...                     0.00    0.00   Pension, retirement...                  0.00    0.00
                                                                                                          Contributions to HH Exp...                 0.00    0.00   Contributions to HH Exp...              0.00    0.00
                                                                                                          Unemployment...                            0.00    0.00   Unemployment...                         0.00    0.00
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                                                                                                          Other Income...                            0.00    0.00   Other Income...                         0.00    0.00


                                                                                                          Income Month 5                                            Income Month 6

                                                                                                          Gross wages, salary, tips...           4,999.99    0.00   Gross wages, salary, tips...        4,999.99    0.00
                                                                                                          Income from business...                    0.00    0.00   Income from business...                 0.00    0.00
                                                                                                          Rents and real property income...          0.00    0.00   Rents and real property income...       0.00    0.00
                                                                                                          Interest, dividends...                     5.00    0.00   Interest, dividends...                  5.00    0.00
                                                                                                          Pension, retirement...                     0.00    0.00   Pension, retirement...                  0.00    0.00
                                                                                                          Contributions to HH Exp...                 0.00    0.00   Contributions to HH Exp...              0.00    0.00
                                                                                                          Unemployment...                            0.00    0.00   Unemployment...                         0.00    0.00
                                                                                                          Other Income...                            0.00    0.00   Other Income...                         0.00    0.00



                                                                                                                                       Additional Items as Designated, if any




                                                                                                                                                            Remarks
